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PLAINTIFE(S):
HEATHER C. HOFFMAN
VS.
DEFENDANT(S):

(COUNTY OF KENOSHA)
ALLAN K. KEHL
ALAN SWARTZ
MAUREEN SWARTZ
MICHAEL J. SERPE
DEBBIE HERTZBERG-SERPE
DIANE YULE
ROBERT RIEDL
DENNIS SCHULTZ 08-c-0041
KENOSHA CIRCUIT COURT
FAMILY COURT COMMISSIONER JAMES FITZGERALD
CLERK OF COURT GAIL GENTZ AND/OR ACTING CLERK OF COURT
CITY OF KENOSHA POLICE DEPARTMENT
CHIEF OF POLICE DANIEL WADE
KENOSHA COUNTY SHERIFF’S DEPARTMENT
SHERIFF DAVID BETH
CHIEF DEPUTY CHARLES SMITH
THOMAS W. ANDERSON, JR.
DR. LEILANE U. STA ROMANA, MLD.
FRED SCHLATER
LENA SCHLATER
OTTO NELSON & SONS/AGENTS FOR UNITED VAN LINES
PAUL KRESSE
JULIE BOYNTON-PASKIEWICZ
“JOHN DOE DEFENDANTS”

 

I. PARTIES

1. Plaintiff Heather C. Hoffman is a citizen of the United States who resides at 125
Greenwood Drive, #3419 Carolina Place, Hilton Head Island, South Carolina.

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2. Defendant Allan K. Kehl is the Kenosha County Executive of the County of Kenosha,
Wisconsin, which is located in the Kenosha County Administration Building, 1010-
56" Street, Kenosha, Wisconsin. As the head elected official and, thus, representative
of Kenosha County government, Mr. Kehl is ultimately responsible for leadership,
direction and oversight of Kenosha County operations. Mr. Kehl is also responsible
for the actions of his county department and his officers, including supervisor
negligence: negligent supervision, failure to train, failure to direct, failure to
legitimately investigate internal and external complaints about his department
heads and their abuse of authoritative power, and intentional failure and neglect
to protect Plaintiff from civil and criminal retaliatory harassment, both within and
outside of the Kenosha County work environment after appraised of the situation
on or before October of 2002. Mr. Kehl, at all times pertinent to this pleading, acted
under color of state law and color of office as the County Executive of Kenosha
County, and acted within and outside of the scope of his position. Mr. Keht is also
sued in his individual capacity for his actions and omissions, by integrity of his
authoritative position as head, elected official of Kenosha County Government.

3. Defendant Alan Swartz is and/or was the Assistant Finance Director/Budget Manager
for the County of Kenosha, Wisconsin. Mr. Swartz is responsible for providing
assistance to the finance director and overseeing/managing the county budget. Mr.
Swartz, at all times pertinent to this legal pleading, acted under color of state law and
color of office as the Assistant Finance Director/Budget Manger for the County of
Kenosha, and acted within and outside of the scope of his position. Mr. Swartz
is also sued in his individual capacity for his actions and omissions, by integrity
of his authority as Assistant Finance Director/Budget Manger of Kenosha County.

4, Defendant Maureen Swartz is married to Mr. Alan Swartz. Mrs. Swartz, to cover up
and protect her husband, Al Swartz, from charges of sexual harassment and actual
overt physical assault on Plaintiff, was instrumental in helping to orchestrate the
civil/criminal harassment against Plaintiff.

5. Defendant Michael J. Serpe was the Administrative Assistant of the Kenosha County
Executive for the County of Kenosha, Wisconsin. Mr. Serpe was personally and
professionally recommended to his position by Allan K. Kehl, confirmed by the
Kenosha County Board of Supervisors, and, thus, appointed to his position to provide
leadership and guidance to Kenosha County Executive Allan K. Kehl. Mr. Serpe, at
all times pertinent to this legal pleading, acted under color of state law and color of

office as administrative assistant to the Kenosha County Executive, and acted

within and outside of the scope of his position. Mr. Serpe is also sued in his individual
capacity for his actions and omissions, by integrity of his authoritative position as
second-in-charge to the Kenosha County Executive.

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6. Defendant Debra Hertzberg-Serpe is the Chief Executive Officer of the Visiting
Nurses Association in Kenosha, Wisconsin. Mrs. Hertzberg-Serpe is married to
Mr. Michael Serpe. Mrs. Hertzberg-Serpe, to cover up and protect her husband,
Michael Serpe, from charges of sexual harassment and demeaning conduct in the
workplace, was instrumental in helping to orchestrate the civil/criminal harassment
against Plaintiff.

7. Defendant Diane Yule is and/or was Assistant Personnel Director for the County of
Kenosha, Wisconsin. Ms. Yule is responsible for adhering to and enforcing Kenosha
County policies and procedures. Ms. Yule’s sister, Carla Ponce, worked under
Plaintiff's direction for a few years prior to Ms. Ponce’s official hire and, thus,
departure to another department. Ms. Yule, at all times pertinent to this complaint,
acted under color of state law and color of office as Assistant Personnel Director of
Kenosha County Government, and acted within and outside of the scope of her
position, Ms. Yule is also sued in her individual capacity for her actions and
omissions, by integrity of her position as then-Assistant Director of Personnel for
Kenosha County Government.

8. Robert Ried] is Personnel Director for the County of Kenosha, Wisconsin. Mr. Riedl
is responsible for adhering to and enforcing compliance of Kenosha County policies
and procedures. Mr. Ried], at all times pertinent to this legal pleading, acted under
color of law and color of office as Interim Personnel Director and Senior Personnel
Analyst of Kenosha County Government, and acted within and outside of the scope of
his position. Mr. Ried] is also sued in his individual capacity for his actions and
omissions, by integrity of his position as Interim Personnel Director and Senior
Personnel Analyst of Kenosha County Government.

9. Defendant Dennis Schultz is the Director of the Kenosha County Department of
Health and Human Services for Kenosha County. Mr. Schultz has misused his
authoritative position as director of both the Division of Health and the Kenosha
County Division of Child Support Enforcement in furtherance of the vendetta of
Kenosha County. Mr. Shultz, at all times pertinent to this legal pleading, acted
under color of law and color of office as Director of the Department of Health
and Human Services, and acted within and outside of the scope of his position. Mr.
Schultz is also sued in his individual capacity for his actions and omissions, by

integrity of his position of Director of the Kenosha County Department of Health
and Human Services.

10. Public officers of the Kenosha Circuit Court adversely used their entrusted positions
of authority and discretion to harass, hinder, impede, and obstruct Heather C.
Hoffman’s U.S. Constitutional protected rights, with malicious intent to retaliate
against Ms. Hoffman for making charges against Kenosha County administrators.

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Defendant Family Court Commissioner James Fitzgerald is an appointed and

and sworn judicial officer of the Kenosha County Family Court. Commissioner
Fitzgerald is responsible for presiding over ethical, impartial and unbiased judicial
hearings and rulings, in compliance to local, state and federal laws and the
Wisconsin State and United States Constitution. Commissioner Fitzgerald, at all
times pertinent to this complaint, acted outside of his official capacity as a sworn
officer of the court, by using his family court room as a retaliatory weapon against
Heather Hoffman, under false pretenses, in furtherance of fraudulent scheme to
inflict irreparable harm and injury to Heather Hoffman and her two children,
including covering up for and concealing criminal evidence.

Defendant Gail Gentz is the Clerk of Court for Kenosha County Circuit Court,
located at the Kenosha County Courthouse, 912 — 56" Street, Kenosha, Wisconsin.
An elected public official and sworn officer of the court, Ms. Gentz is ultimately
responsible for securing and protecting the authenticity and integrity of court records
entrusted in her possession. Ms. Gentz, at all times pertinent to this complaint, acted
under color of state law and color of office as the Clerk of Court for Kenosha
County, and acted within and outside of the scope of her position. Ms. Gentz is also
sued in her individual capacity for her actions and omissions, by integrity of her
authoritative position as Clerk of Court for Kenosha County.

Defendant Daniel Wade is the Chief of Police for the City of Kenosha Police
Department, located in the Public Safety Building at 1000 — 55" Street, Kenosha,
Wisconsin. A sworn law enforcement officer of the City of Kenosha Police
Department, Mr. Wade is entrusted with the professional responsibility of serving
and upholding the U.S. Constitution, enforcing law and equal application of law to
all citizens of the community, and is ultimately responsible for the actions of his
department and his officers. Chief Wade, at all times pertinent to this legal pleading,
acted under color of state law and color of office as Police Chief of the City of
Kenosha, and acted within and outside of the scope of his authoritative position.
Chief Wade is sued in his individual capacity for his actions and omissions, by
integrity of his authoritative, entrusted position as Chief of Police for the City of
Kenosha, Wisconsin.

Defendant David Beth is the Sheriff of Kenosha County, Wisconsin, located in the
Public Safety Building at 1000 — 55" Street, Kenosha, Wisconsin. As an elected
official and sworn law enforcement officer, Mr. Beth is entrusted with the
professional responsibility of serving and upholding the U.S. Constitution, enforcing
law and equal application of the law to all citizens of the community, and is
ultimately responsible for the actions of his department and his officers. Sheriff
Beth, at all times pertinent to this legal pleading, acted under color of state law and
color of office as Sheriff of Kenosha County, and acted within and outside of the
scope of his authoritative position. Sheriff Beth is sued in his individual capacity for
his actions and omissions, by integrity of his authoritative, entrusted position as
Sheriff of Kenosha County, Wisconsin.

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Chief Deputy Charles Smith is the Chief Deputy of the Kenosha County Sheriffs
Department, Kenosha, Wisconsin, located in the Public Safety Building at 1000 —

55" Street, Kenosha, Wisconsin. Deputy Smith is an assistant to the Sheriff of
Kenosha County, and, as a sworn law enforcement officer, Mr. Smith is entrusted
with the professional responsibility of serving and upholding the U.S. Constitution,
enforcing law and equal application of the law to all citizens of the community, and
is also responsible for the actions of his department and his officers. Deputy Smith,
at all times pertinent to this legal pleading, acted under color of state law and color of
office as Chief Deputy of Kenosha County, and acted within and outside of the scope
of his authoritative position. Deputy Smith is also sued in his individual capacity for
his actions and omissions, by integrity of his authoritative, entrusted position as
Chief Deputy of Kenosha County, Wisconsin.

Defendant Thomas W. Anderson, Jr., is a divorce attorney for Anderson and
Anderson, SC, located at 5401 — 60" Street, Kenosha, Wisconsin. As a sworn
officer of the court and Wisconsin State Bar Association, Mr. Anderson is
ethically bound to adhere to the Wisconsin State Supreme Court Rules of
Professional Conduct for Attorneys pertinent to ethics, integrity, honesty and
confidentiality in serving his clients and his profession as defined by the Code of
Honor. Mr. Anderson breached this code of honor by adversely using his
professional position to act in furtherance of fraudulent scheme to inflict
financial damage and injury to Plaintiff, including bodily injury, through intentional
misrepresentations and omissions of relevant facts in legal documentation and
paperwork of which comprises unethical, disingenuous legal representation.

Defendant Dr. Leilane U. Sta Romana, M.D., is a licensed physician with the State of
Wisconsin, who conspired to jeopardize her patient’s health, Heather C.
Hoffman, for political purposes.

Defendant Fred Schlater is a licensed real estate and business owner of the State of
Wisconsin, Coldwell Banker Real Estate One, 6809 Green Bay Road, Kenosha,
Wisconsin, who adversely used his license and his business in furtherance of scheme
of action to defraud Plaintiff of her property through fraudulent representation in
real estate contract listing and subsequent offers to purchase Plaintiff's property,
thereafter, constituting fraud.

Defendant Lena Schlater is a licensed real estate broker and business owner of the
State of Wisconsin, Coldwell Banker Real Estate One, 6809 Green Bay Road,
Kenosha, Wisconsin, who adversely used her license and her business in furtherance
of scheme of action to defraud Plaintiff of her property through fraudulent
representation in real estate contract listing and subsequent offers to purchase
Plaintiff's property, thereafter, constituting fraud.

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20. Defendant Otto Nelson & Sons/Agents for United Van Lines, 6203 — 28% Avenue,
Kenosha, Wisconsin, acted in furtherance of fraudulent scheme of action,
constituting an act of racketeering, across state lines, by using his business and
contractual business association with Heather C. Hoffman to defraud Plaintiff of her
property via tangible damage and injury to Plaintiff's property specific to handling of
and fraudulent representation and/or misrepresentation of stated facts specific to
packaging, transporting, relocating and inadequate space of storing of property and
furnishings.

21. Defendant Paul Kresse, 3402 — 88" Street, Kenosha, Wisconsin, is a contractor that
Plaintiff hired in “good faith” to perform extensive home improvements prior to
listing of Plaintiff's property. Mr. Kresse entered into this contract with Plaintiff
with malicious intent in furtherance of retaliatory fraudulent scheme of action to
inflict financial damage and injury to Plaintiff, including bodily injury.

22. “John Doe Defendants”’, are those defendants still unnamed and unknown at the time
of filing of this cause of action.

Il. PREVIOUS LAWSUITS

A. Heather C. Hoffman will be filing a lawsuit specifically related to this
lawsuit in the U.S. District Court of Charleston, South Carolina.

Ill, JURISDICTION AND VENUE

23. Pursuant to Title 28 U.S.C. Sec. 1331, this United States District Court of Milwaukee,
Wisconsin, has original jurisdiction as this is a civil action arising under deprivations
of the Constitution and laws of the United States.

24. Pursuant to Title 28 U.S.C. Sec. 1343 (a) (1) (2) (3) (A), jurisdiction of this court is
authorized by law to be imposed by Plaintiff.

25. Pursuant to Title 28 U.S.C. Sec. 1391 (b) (2) (c) (e) (1) (2), venue of the United States
District Court of Milwaukee, Wisconsin, is applicable in this civil action.

26. Pursuant to Title 18 U.S.C. Section 1964, Plaintiff has legal standing in this U.S.
District Court of Milwaukee, Wisconsin, since Plaintiff has been injured in
her business and property by reason of a violation of Title 18 U.S.C. Section 1962

(c) (d).
27. Pursuant to Title 18 U.S.C. Section 1965 (a) (b) (c) (d), venue and process of the

United States District Court of Milwaukee, Wisconsin, is applicable in this
civil action.

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il. NATURE OF CASE

This complaint originated from defendants’ deliberate, intentional and willful

and unlawful deprivations of Plaintiff's U.S. Constitutional protected and
guaranteed rights, including the First, Fourth, Eighth and Fourteenth Amendments,
acting under color of law, in violation of Title 42 U.S.C. Section 1983.

29, These intentional deprivations, committed in conspiracy, by an agreement and a

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meeting of the minds, between one or more defendants’, including those yet not
named and hereby referred to as “John Doe Defendants”, acting under color of

law, with specific intent to intentionally and willfully deprive Plaintiff of her First,
Fourth, Fifth, Eighth and Fourteenth Amendment rights, to impede, hinder and
obstruct the due course of justice, is actionable under Title 42 U.S.C. Section 1985
(2); Plaintiff belongs to a special class of citizens as she is a woman, a
victim/informant/witness of unlawful, overt predicate acts of civil and criminal
retaliatory harassment, and Plaintiff is and was medically diagnosed as having a
physical disability as referenced under Title I of the Americans with Disabilities Act
of 1990.

Each of these defendants’ acted in concert, through a meeting of the minds, under
color of law, with specific intent and willful purpose to impede, hinder and obstruct
and/or defeat, the due course of justice, in willful deprivation of Plaintiffs U.S.
Constitutional federally protected rights, with specific intent to deny to Plaintiff
equal protection of the laws, in violation of the First and Fourteenth Amendments,
and thus inflict irreparable injury to Plaintiff's person, property and business,
including bodily injury, in retaliation for Plaintiff making a charge opposing
discriminatory practices in the Kenosha County work environment in violation of
Title VII of the Civil Rights Act of 1964 and Title I of the Americans with
Disabilities Act of 1990; reporting the possible commission of a felony to law
enforcement officers and subsequent authoritative figures, possibly directly
attributable to those engaging in conduct against Plaintiff constituting a “hostile
working environment”; for providing both verbal and written complaints to the U.S.
Equal Employment Opportunity Commission; for providing testimony against this
employer in an official hearing before Administrative Law Judge John C. Gelhard,
State of Wisconsin, Department of Workforce Development, Division of
Unemployment Insurance, on April 21, 2004; and in retaliation for Plaintiff's
relentless pursuit, as afforded to her under the First Amendment, of continuous
petition of government agencies for a redress of grievances, pertinent to the
following deprivations, presumably under color of law, minus procedural and
substantive due process and equal protection of the laws prior to deprivation of life,
liberty and property and intrusive violation of privacy rights and law, in violation of
the Fourth Amendment. This is actionable under Title 42 U.S.C. Section 1985 (2).

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One or more of these defendants’, witnessing and fully cognizant of the wrongs
committed against Plaintiff, having a sworn duty to protect and defend the U.S.
Constitution, and having the ability to prevent or correct the wrongs being
committed, did consistently, willfully refuse to correct (willful blindness) or report
said wrongs as required by law and their oath of office, and/or conspired to advance
or conceal the deprivations herein enumerated by doing so intentionally, willfully
and with a high knowledge and responsibility of the law and therefore is actionable
under Title 42 U.S.C. Section 1986.

The overt retaliatory predicate acts committed by defendants, with known ties and
association to racketeering enterprises and/or organized crime, against Plaintiff in
violation of federal civil rights statutes constitutes a major conspiracy to commit
irreparable injury and damage to Plaintiff's person, property and business, including
bodily injury, in conspired deprivation of U.S. Constitutional protected rights with
intent to impede, hinder and obstruct the due course of justice, under color of law,
presumably under falsified charges and/or misconstrued information, minus
substantive and procedural due process, rises to the level of and constitutes
“racketeering activity” as defined under Title 18 U.S.C. Section 1961 (B) of the
Rackeetering Influenced and Corrupt Organizations Act, hereby referred to as
“RICO”, more specifically, Title 18 U.S.C. Section 1513 (b) (2) (e); Title 18 U.S.C.
Section 1341; Title 18 U.S.C. Section 1343; Title 18 U.S.C. Section 1344 (2); Title
18 U.S.C. Section 1028 (a) (7); Title 18 U.S.C. Section 1512 (2) (A) (B) @ (C) (b)
(1) (2) (A) (c) (1); and Title 18 U.S.C. Section 1962 (c) (d).

. Pursuant to Title 18 U.S.C. Section 1961 (4), more than one of the defendants

constituting an “enterprise” and/or “association in fact” enjoined for the specific
intent, purpose and causation, across state lines, to do irreparable harm and injury to
Plaintiff's business and property, including bodily injury, through a continuous,
open-ended pattern of racketeering activity, as defined under Title 18 U.S.C. Section
1961 (B), with similar intent, purpose and causation to cause irreparable harm and
injury, involving the same victim, over a prolonged, sustained period of time (2002
through present time of 2008) and constituting more than two separate predicate acts
of retaliation, in conspired deprivation of U.S. Constitutional protected rights, under
color of law, in furtherance of fraudulent scheme, plan of action and/or objective, to
defraud Plaintiff of the intangible right to honest services.

. Intentional infliction of emotional distress primarily based on the entirety of

Defendants actions under the State of Wisconsin common law statute constituting
outrageous, extreme and heinous conduct of which shocks the conscience and
decency of a reasonable person. Conduct that is so excessively, maliciously
shocking to one’s conscious that Plaintiff has sustained direct, significant, tangible
irreparable injury to her person, property and business, including bodily injury, due
to the intentional infliction of emotional distress, in conspired deprivation of U.S.
Constitutional protected rights, and, as such, as a direct consequence of, result of
and/or causation of the totality of these actions taken on or before October of 2002,

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through present time of January of 2008, has applied for temporary disability with
the United States Social Security Administration, Port Royal, South Carolina.

35. Plaintiff herein asks the U.S. District Court of Milwaukee, Wisconsin, to please
incorporate the entirety of the legal suit filed in the U.S. District Court of Charleston,
South Carolina, as the causes of action are directly related and a continuation of the
retaliatory overt predicate action, taken across state lines, in furtherance of fraudulent
scheme and/or objective to adversely interfere in Plaintiff's person, property and
business, through intrusive violation of privacy rights and laws, under color of law,
and in conspired deprivation of U.S. Constitutional protected rights, to defraud and
inflict irreparable damage and injury to Plaintiff and her family.

IV. TOLLING OF STATUTE OF LIMITATIONS

36. Plaintiff herein incorporates the aforementioned paragraphs and alleges that a tolling
of statute of limitations is applicable in this legal action, as Plaintiff, based on the
extremity of the intentional infliction of emotional distress and duress of being a
victim of crime, in conspired deprivation of U.S. Constitutional protected rights,
including fraudulent concealment of criminal evidence of motive, means and
opportunity by those entrusted with serving and protecting all citizens of the
community equally, on or before October of 2002, through present time of January of
2008, and the adverse interference with Plaintiff's business, through intrusive
invasion of privacy, under color of law, including attorney-client relationships and/or
legal representation, and the fact that Plaintiff has no legal background, that, at the
time, Plaintiff was unable to write her own legal action and organize the necessary
paperwork. Plaintiff also affirms that, up until the year of 2007, when the continuity,
similarity, and “discovery of injury and pattern” became apparent, Plaintiff was
unaware that these overt predicate acts constituted “racketeering activity” as
referenced under the Racketeering Influenced and Corrupt Organization Act, hereby
referred to as “RICO”.

37. Tolling of statute of limitations is applicable in this cause of action since defendants,
including those individuals yet unnamed and unknown and, thus, hereby referred to
as “John Doe Defendants”, acted with specific, premeditated intent, within, outside
of, and beyond their official capacities, under color of law, color of office and color
of authority (malfeasance of office), through an abuse of authoritative power, to plan,
initiate, implement and execute a fraudulent scheme of action, to defraud and deprive
Plaintiff of her intangible right to honest services, with specific intent, purpose and
causation to inflict damage and injury to Plaintiff's person, property and business,
including bodily injury, under color of law, in conspired deprivation of Plaintiff's
First, Fourth, Eighth and Fourteenth U.S. Constitutional protected rights to retaliate,
harass, threaten, intimidate and adversely interfere with Plaintiff's personal and
professional endeavors and took overt predicate action to intentionally participate in
and/or tacitly condone and turn a willful blindness to civil and criminal harassment
directed against Plaintiff, in violation of state and federal laws, including civil rights
and RICO statutes, in conspired deprivation of U.S. Constitutional protected rights to

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protect those responsible, including taking administrative action to conceal, alter, and
destroy physical evidence of unlawful criminal behavior, including a felony, to
impede, hinder, obstruct and defeat the due course of lawful, legal justice, in
deprivation of Plaintiff's First, Fourth, Eighth and Fourteenth U.S. Constitutional
protected rights.

V. BACKGROUND HISTORY/STATEMENT OF FACT:

38. This federal lawsuit is directly affiliated to and associated with a lawsuit filed in the
U.S. District Court of Charleston, South Carolina, pertinent to subsequent overt
predicate acts of retaliatory civil and criminal harassment directed against plaintiff,
across state lines, presumably under color of law, under false pretenses and/or
misconstrued misrepresentation of contrived circumstances and/or misinformation
regarding Plaintiff, on or before October of 2002, while Plaintiff was still employed
as an Office Manager for Kenosha County Executive Allan K. Kehl, 1010 ~ 56
Street, Kenosha, Wisconsin, with specific intent, purpose and causation to corruptly
cover up for and conceal intentional discriminatory practices in Plaintiffs then place
of employment, Kenosha County Government, Kenosha, Wisconsin, constituting a
“hostile working environment” actionable under Title VII of the Civil Rights Act of
1964 and Title I of the Americans with Disabilities Act of 1990, and in conspired
deprivation of Plaintiffs First, Fourth, Fifth, Eighth and Fourteenth Amendment
rights under the United States Constitution.

39. Throughout her five and a half year tenure of employment with Kenosha County
Government, Kenosha, Wisconsin (09/98-01/04), Plaintiff was continuously
subjected to working in an environmentally unhealthy environment permeated by
second hand smoke in violation of Wisconsin Clean Indoor Air Law State Statute
101.123. This activity was consistently participated in by all the aforementioned
supervisors and administrators of Kenosha County, including Allan K. Kehl.

40. This continuous exposure to second hand smoke posed a significant medical, health
and safely risk to Plaintiff due to Plaintiff's medically diagnosed and documented
physical disabilities of scoliosis and asthma. Directly attributable to the scoliosis and
asthma, Plaintiff suffers from significantly diminished respiratory system and
breathing capacity, of which substantially limits one or more major life activities, as
referenced under the Americans with Disabilities Act of 1990.

41. This employer, more specifically, Allan K. Kehl, was cognizant of the fact, on or
before September of 1998, that Plaintiff had a documented medical condition that
was exacerbated by the second hand smoke in the work environment due to her
significantly diminished respiratory capacity.

42. As a reasonable accommodation to divert and/or camouflage the effects of the
second hand smoke in the front office, Plaintiff, as well as her predecessor, Ginny
Kikilas, requested of Allan Kehl that an air filter be purchased for the front office
area.

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43. All requests were denied by Mr. Kehl due to fiscal budget constraints and undue
financial hardship of increased office expenditure. Mr. Kehl knowingly and
willingly refused to provide reasonable accommodation for Plaintiff's disability.

44. Over the course of Plaintiff s employment with Kenosha County Government (09/98
— 01/04), Plaintiff was continuously subjected to unwelcome gender specific sexual
advances and overtures by two supervisors and cabinet members of Mr. Kehl’s
administration, then-actionable under Title VII of the Civil Rights Act of 1964.

45. Mr. Kehl was fully cognizant of his then-Administrative Assistant Michael Serpe’s
past history of gender specific, sexual suggestive behavior and conduct toward
female co-workers prior to his recommendation and appointment of Michael Serpe to
his then position. Mr. Kehl, cognizant of the fact that Plaintiff was aware of Mr.
Serpe’s sexual and predatory behavior toward female co-workers, verbally assured
Plaintiff, in front of a witness, in Plaintiff's initial interview in September of 1998,
that Mr. Serpe’s conduct would be above reproach.

46. Over the course of Plaintiff's employment with Kenosha County, Plaintiff was
continuously subjected to unwelcome sexual advances and sexually descriptive
conversation involving her female anatomy and verbal abuse by Michael Serpe.

47, Prior to Plaintiff's resignation in January of 2004, Plaintiff was continuously being
referred to and called “psycho” and “paranoid schizophrenic” by Mr. Serpe in front
of other supervisors, co-workers and the general public. Plaintiff filed an internal
complaint with her immediate supervisor, Allan Kehl, and then-personnel director
Brooke E. Koons.

48. During and between March of 2000 — 2002, through verbal and written
communication, on at least two separate occasions, Plaintiff had appraised Mr. Kehl
of specific complaints and concerns of Plaintiff's then-assistants’, specific to
Michael Serpe’s sexual banter and foul mouth.

49. Plaintiff's then-former assistant, Carla Ponce, sister of then-assistant personnel
Director, Diane Yule, was transferred from the Kenosha County Executive’s Office
to the Kenosha County Courthouse, at Plaintiff's recommendation and request, based
on ill feelings attributable to the termination of a former administrator, Raffaele
Montemurro, and for work related matters. Ms. Ponce did not leave under the best of
terms, and Plaintiff alleges, due to the totality of circumstances to date, that Ms.
Ponce’s departure from the County Executive’s Office could have been a
contributing factor to adverse employment action taken against Plaintiff, including
“hostile working environment” and being targeted for job termination by
administrators of Kenosha County on or before October of 2002.

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50. Plaintiff alleges, but is unable to substantiate due to lack of cooperation of local, state
and federal law enforcement authorities and public officials, presumably under color
of law, comprising all three branches of government, that Plaintiff became targeted
for job termination and elimination on or before October of 2002.

51. Plaintiff alleges, but is unable to substantiate due to lack of cooperation of law
enforcement, presumably under color of law, that Plaintiff further became targeted
for job termination and/or elimination following an incident at her then-residence on
October 1, 2002, with then-Assistant Finance Director/Budget Manager Alan Swartz
in which Plaintiff made verbally clear to Mr. Swartz that she not interested in a
sexual relationship nor was she interested in engaging in threesomes. Mr. Swartz
had asked Plaintiff on at least two separate occasions, if Plaintiff was interested in
engaging in sexual relations with he and another woman. Plaintiff alleges that Mr.
Swartz had motive, means and opportunity, due to his highly authoritative position
within Kenosha County Government, to adversely retaliate against Plaintiff through
job targeted elimination, and overt predicate acts of retaliatory, threatening
harassment, to protect and shield himself personally and professionally from public
disclosure and legal redress. Mr. Swartz was in a professional position to adversely
affect Plaintiff's association with other county departments in terms of being
provided with the resources necessary to successfully perform and accomplish
Plaintiff's work related responsibilities conducive to the office, thereby, perpetuating
a “hostile working environment”, and, as a then professional responsibility as budget
manager, had the authority to eliminate Plaintiff's position from the county budget.

52. Plaintiff alleges, but is unable to substantiate due to lack of cooperation of law
enforcement officials, presumably under color of law, that Mr. Kehl, fully cognizant
of Michael Serpe’s and Alan Swartz’s unlawful conduct and predatory behavior
toward women, deemed Plaintiff a threat and potential liability to his personal and
professional, elected position and his administration attributable to the
aforementioned conduct and the smoking issue.

53. Plaintiff alleges that Mr. Kehl, through legal advisement of Corporation Counsel,
was cognizant of the fact that he and his administration had no valid legal, lawful and
legitimate defense to these unlawful actions due to established precedent of unlawful
conduct and harassment in his administration, of which included numerous witnesses
to the offenses.

54. Plaintiff alleges that Mr. Kehl foresaw, after Plaintiff was dissatisfied with results of
in-house investigation of the aforementioned offenses by those defendants entrusted
with the responsibility of enforcing and adhering to Kenosha County policies and
procedures, in compliance to state and federal laws, especially since defendants were
the specific participants and instigators of the entirety of the actions, the probability
of Plaintiff contacting and filing a charge with the U.S. Equal Employment
Opportunity Commission (EEOC) opposing discriminatory practices in the
workplace, and reasonably deducted, based on the legal evidence, that Kenosha
County would be lawfully and legally liable for engaging in discriminatory practices

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in violation of Title VII of the Civil Rights Act of 1964 and Title I of the Americans
with Disabilities Act of 1990, and public disclosure of conduct and scandal would
follow and threaten the professional and personal reputations of Mr. Kehl, his
administration, and other participants/defendants responsible for conduct.

COUNT ONE

55. Plaintiff herein incorporates the aforementioned paragraphs and alleges that, on or
before October of 2002, while Plaintiff was still employed as an Office Manager for
Kenosha County Executive Allan K. Kehl, 1010-56" Street, Kenosha, Wisconsin,
defendants, in paragraphs 2-9, 13-15 & 22, deeming Plaintiff a potential threat to the
Kenosha County administration, conspired, through a meeting of the minds, to plan,
initiate, implement and execute a fraudulent scheme of action against Plaintiff,
including intentional falsification of charges through misconstrued and/or fraudulent
misrepresentation of contrived circumstances and/or misinformation, took
administrative action, under color of law and color of authority (malfeasance of
office), with specific intent, purpose and causation to corruptly cover up for and
conceal intentional discriminatory practices in Plaintiff's then-place of employment,
of which constituted a “hostile working environment” then-actionable under Title
VII of the Civil Rights Act of 1964, Title I of the Americans with Disabilities Act of
1990, conspired state and federal civil rights violations, and violations of the
Rackeetering Influenced and Corrupt Organizations Act, in conspired deprivation of
Plaintiff's First, Fourth, Fifth, Eighth and Fourteenth U.S. Constitutional protected
rights, to impede, hinder, obstruct and defeat the due course of justice and deny to
Plaintiff the equal protection of the laws and thereby, protect the perpetrators from
personal and professional liabilities and political scandal.

56. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
throughout her tenure of employment with Kenosha County Government, Kenosha,
Wisconsin, from September of 1998 through January of 2004, Plaintiff was
continuously subjected to working in an environment that exploited, violated,
demeaned and degraded Plaintiff as an employee and as a working, professional
woman, and subjected Plaintiff to working in an unhealthy environment permeated
with second hand smoke in violation of Wisconsin Clean Indoor Air Law State
Statute 101.123.

57. Plaintiff herein incorporates the aforementioned paragraphs and alleges that this
specific action taken by defendants, minus procedural and substantive due process
and equal protection of the laws, constitutes a violation of the Eighth Amendment as
Plaintiff, as further outlined in the subsequent causes of action in this lawsuit, has
been treated and sentenced as a criminal and deprived of her life, liberty and property
without a chance to hear the charges against her, right to respond to the charges
against her, and the right to present evidence and witnesses on her own behalf prior
to being “secretly” charged and convicted, including full disclosure, in violation of
privacy laws to third parties.

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COUNT TWO

58. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on the
totality of circumstances to date, on or before October of 2002, through present time
of January of 2008, that defendants 2-9, 13-15 & 22, took overt predicate action to
conceal, tamper with and/or destroy tangible, physical evidence of the possible
commission of a Class B Felony (burglary) that took place at Plaintiff's then-
residence of 4705-67" Place, Kenosha, Wisconsin, on October 18, 2002. Plaintiff
called 911 at 3:18 a.m. after visually observing and hearing an intruder(s) on the first
floor of her residence. The Event Number for the 911 call on October 18, 2002, is
002002138063.

59, Plaintiff herein incorporates the aforementioned paragraphs and alleges that Plaintiff
disclosed and provided testimony to responding officers of the City of Kenosha
Police Department, T.R. Metzler, J.J. Wamboldt, and A.J. Skowronski, of which
included the names of Kenosha County administrators with possible motive for
wanting to harm Plaintiff and her family to conceal and cover up for unlawful
conduct constituting a hostile working environment in Kenosha County Government,
and to cover up for and retaliate against Plaintiff for refusing to engage in sexual
activities with administrators of Kenosha County.

60. Plaintiff herein incorporates the aforementioned paragraphs and affirms that Plaintiff
disclosed to law enforcement officers an incident at Plaintiff's then-residence of
4705-67" Place, Kenosha, Wisconsin, on October 1, 2002, with then-Assistant
Finance Director/Budget Manager Alan Swartz, of which Plaintiff's spurned Mr.
Swartz’s sexual advances and stated disinterest for engaging in sexual practices.

61. Plaintiff herein incorporates the aforementioned paragraphs and affirms that Plaintiff
also disclosed information pertinent to continuous sexual overtures by then-
Administrative Assistant Michael J. Serpe.

62. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff's testimony and/or disclosure to law enforcement officers on October 18,
2002, of unlawful harassment directed against her by administrators of Kenosha
County, would definitely warrant an incident report be filed by the responding
officers of the Kenosha Police Department, since Plaintiff was fearful for herself and
her family, and to provide for physical evidence of disclosure and testimony of
possible suspects in the event that foul play and/or further criminal action and/or
harassment be taken against Plaintiff. This gross failure and neglect to protect is a
deprivation of Plaintiff's First and Fourteenth Amendment right to due process and
equal protection of the laws.

63. Per Wisconsin State Statute, the act of burglary constitutes a Class B Felony, and as
such, proper policy and procedure dictates that a report be filed.

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64. The City of Kenosha Police Department, hereby referred to as the “KPD” is
entrusted with, and sworn to uphold, the professional and public responsibility of
equal enforcement and application of the laws to all citizens of the community, as
provided for under the Fourteenth Amendment of the U.S, Constitution. To
discriminatorily apply the laws of the land to Plaintiff, based on politics and political
favors and association, the KPD violated Plaintiff's right to due process and equal
protection of the laws.

65. Plaintiff herein incorporates the aforementioned paragraphs and affirms that Plaintiff
contacted Kenosha County Executive Allan K. Kehl, her then-employer, the morning
of October 18, 2002, to inform him of the burglary and intruders in her home the
morning of October 18, 2002. Plaintiff expressed concerns for her safety and her
family’s safety.

66. Plaintiff herein incorporates the aforementioned paragraphs and attests that Mr. Kehl
stated to Plaintiff in the telephone conversation of October 18, 2002, that he had
reason to believe that someone had been in Plaintiff's home on numerous occasions
without Plaintiff's knowledge and did Plaintiff notice anything missing, such as a
coat? Mr. Kehl would not elaborate, but asked Plaintiff, “to trust him”.

67. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
following the possible commission of and reporting of a possible felony at Plaintiffs
residence on October 18, 2002, to law enforcement officers on October 18, 2002,
possibly attributable to Plaintiff's co-workers, further civil and criminal harassment
ensued and escalated both within and outside of the Kenosha County working
environment.

68. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Plaintiff
contacted the City of Kenosha Police Department to request a copy of the incident
report of October 18, 2002, to take to federal authorities, more specifically, the
United States Federal Bureau of Investigation, to show tangible, physical evidence of
the possible commission of a felony at Plaintiff's then-residence on October 18,
2002, Plaintiffs testimony and disclosure to law enforcement officers of intentional
discriminatory practices constituting a “hostile working environment”, names of
possible suspects and retaliatory motives for potential infliction of harm to Plaintiff
and her family, evidence of Plaintiff's fears and concerns specific to employment
retaliation, and to substantiate and prove motive, means and opportunity for
retaliation by the Kenosha County administration to protect Kenosha County
administrators, including Allan Kehl, from professional and personal liabilities and
scandal.

69. Plaintiff herein incorporates the aforementioned paragraphs and alleges, that through
verbal and written communication, Plaintiff was notified that the attending officers
on October 18, 2002, did not file an incident report, as the situation did not warrant
criminal activity.

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70. Plaintiff herein incorporates the aforementioned paragraphs and alleges that, since
Plaintiff was and continues to be subjected to unlawful, retaliatory harassment, this
U.S. Constitutional deprivation of due process and equai protection of the laws,
deprives Plaintiff of the opportunity to present this physical evidence to federal
authorities and this United States District Court of Milwaukee, Wisconsin, as 2
retaliatory motive by defendants for Plaintiff's reporting the possible commission of
a felony to law enforcement officers on October 18, 2002, possibly attributable to
then-co-workers, and continuously petitioning the government for a redress of
grievances thereafter, for deprivation of due process and equal protection pertinent to
tampering, concealing and/or destroying tangible evidence of Plaintiff's fear of
retaliatory action by Kenosha County administrators of which could be, based on the
totality of circumstances to date, on or before October of 2002, through present time
of January of 2008, associated with the burglary and/or possible interruption by
Plaintiff of intended foul play and/or possible homicide on October 18, 2002.

71. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on the
totality of circumstances to date, on or before October of 2002, through present time
of January of 2008, that defendants engaged in a conspiracy to cover up, using their
extensive ties and association to law enforcement and local, state and federal
agencies and public officials, to protect those responsible for unlawful harassment,
including possible attempted homicide on October 18, 2002, from lawful and legal
accountability, by taking administrative action, under false pretenses, to intentionally
deprive Plaintiff of her U.S. Constitutional protected rights, under color of law, to
impede, hinder and obstruct the due course of justice, including tampering,
concealing and/or destruction of physical, criminal evidence of which could be used
in a federal court of law, to substantiate existence and/or disclosure of criminal
activity to law enforcement, and, therefore, constitutes obstruction of justice,
pursuant to Title 18 U.S.C. Section 1519.

COUNT THREE

72. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through present
time of January of 2008, that defendants conspired, through a meeting of the
minds, and took administrative action, under color of law, under false pretenses
and/or misconstrued information, with specific, malicious intent to impede, hinder,
obstruct and defeat the due course of justice of holding defendants in paragraphs
2-9, 13-15 & 22, lawfully and legally accountable for the aforementioned actions in
paragraphs 1-72, and subsequent paragraphs hereafter, by abusing their authoritative
positions of power and resources, on or before October of 2002, through then
present time of March of 2003, to access and use the personal identification
information in Plaintiff's personnel file to obtain private and confidential
information about Plaintiff, in violation of Plaintiff's Fourth Amendment right to
privacy, minus procedural and substantive due process and equal protection of the
laws, with intent and purpose to adversely use this information against Plaintiff,

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including public disclosure to third parties in violation of state and federal privacy
laws, to discredit and disqualify Plaintiff's allegations and testimony regarding
administrators of Kenosha County government, including Allan Kehl, in conspired
deprivation of Plaintiffs First, Fourth, Eighth and Fourteenth U.S. Constitutional
protected rights.

73. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
defendants accessed and intentionally and adversely interfered with Plaintiff's
medical privacy and patient-physician confidentiality and association, under color of
law, minus procedural due process and equal protection of the laws, pertinent to her
weight control management program with Dr. Rodrigo Mata II, 6123 Green Bay
Road, Kenosha, Wisconsin.

74. Plaintiff herein incorporates the aforementioned paragraphs and alleges, minus
procedural and substantive due process and equal protection of the laws, that
defendants adversely used this information against Plaintiff to exploit the potential
side effects of weight control medication, including paranoia and hallucinations, to
take administrative action, under color of law, to intentionally interfere with
Plaintiff's medical privacy and private matters concerning Plaintiffs business,
property and person, as referenced in the aforementioned and hereafter paragraphs of
this lawsuit, with specific intent, purpose and causation to negate and discredit and
disqualify Plaintiff's allegations and testimony against Kenosha County officers,
thereby impeding, hindering, obstructing, defeating and eliminating potential lawful,
legal professional and personal accountability of Kenosha County, including Allan
Kehl, under color of law, in conspired deprivation of Plaintiff's First, Fourth, Eighth
and Fourteenth Amendment rights.

75. Plaintiff herein incorporates the aforementioned paragraphs and alleges, minus due
process and equal protection, that defendants took this administrative action,
under color of law, to intentionally deprive Plaintiff of her First and Fourteenth
Amendment rights, to disallow Plaintiff of the opportunity to hear the charges
against her, face her accusers, speak out and present her evidence and witnesses,
since Plaintiff could lawfully and legally substantiate her credibility and uncover
the deceit and fraudulent scheme of action planned, initiated, implemented and
executed by Kenosha County personnel, including Allan Kehl, to avoid
professional and personal legal and lawful accountability and political scandal.

76. Plaintiff hereby incorporates the aforementioned paragraphs and alleges that
Plaintiff has been adversely affected by this specific cause of action since Plaintiff
no longer trusts the private confidentiality and association of patient-physician
medical care and treatment due to the intentional interference, violation, exploitation
and public disclosure of Plaintiff's medical privacy in violation of state and federal
privacy laws and U.S. Constitutional protected rights of the First, Fourth, Eighth and
Fourteenth Amendment rights.

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77. Plaintiff herein incorporates the aforementioned paragraphs and alleges that this
specific action constitutes a deprivation of Plaintiff's Eighth Amendment right, as
afforded under the U.S. Constitution, under color of law, as it deprives Plaintiff of
her Fourth Amendment right to medical privacy, minus due process and equal
protection of the laws, as afforded to Plaintiff under the Fourteenth Amendment, and
the Sixth Amendment, since it deprives Plaintiff of a federally protected right, as if
Plaintiff has been tried, convicted and sentenced in a criminal court of law, minus the
right to counsel and the private, confidential details of the case released to the public
without Plaintiff ever being appraised of the crime that Plaintiff's accused of.

78. Plaintiff herein incorporates the aforementioned paragraphs and alleges that had the
City of Kenosha Police Department and the Kenosha County Sheriff's Department
performed their professional sworn responsibilities to serve and protect all citizens
of the community equally regardless of politics and political favors and associations
and connections, the aforementioned, this cause of action, and the subsequent causes
of action, would never have ensued and caused irreparable damage and injury to
Plaintiff and, ultimately her children. Based on the totality of circumstances to date,
on or before October of 2002, through present time of January of 2008, Plaintiff
alleges that both the City of Kenosha Police Department and the Kenosha County
Sheriff's Department were fully cognizant of, if not actual participants in, the
unlawful harassment being taken against Plaintiff and turned a willful blindness by
deliberate neglect and failure to perform their sworn responsibilities of enforcing
state and federal statutes in accordance with U.S. Constitutional protected rights, and
overtly used their professional positions to cover up for those responsible by
tampering with, concealing and/or destroying tangible evidence of potential criminal
conduct, and consistently refusing to investigate and/or refer for investigation to the
proper authorities and/or jurisdiction to protect Plaintiff and her family from
subsequent and future harms.

COUNT FOUR

79. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on the
totality of circumstances to date, on or before October of 2002, through present time
of January of 2008, constituting an ongoing similarity of pattern, involving the same
victims, with similar intent, purpose and causation of infliction of damage and injury
to Plaintiff's person, property and business, including bodily injury, that defendants
in paragraphs 2-9, 13-15 & 22, participated in, had knowledge of, and/or hired and/or
elicited Nello Ventura’s, 2109 — 60" Street, Kenosha, Wisconsin, services on or
before January 23, 2003, to engage in an act of racketeering by intentionally backing
into Plaintiff's vehicle while Plaintiff was stopped at a traffic light at the intersection
of 60" Street and 22? Avenue in Kenosha, Wisconsin, at approximately 12:10 p.m.
Plaintiff's vehicle sustained considerable damage to driver side (Title 18 U.S.C.
Section 1513 (b) (2) (e).

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80. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on the
totality of circumstances to date, on or before October of 2002, through present time
of January of 2008, that defendants conspired, through a meeting of the minds, to
plan, initiate, implement and execute an overt retaliatory predicate act of racketeering
in furtherance of fraudulent scheme and/or objective to inflict property damage to
Plaintiff's 1997 Mercedes Benz E-320, bodily injury and/or attempted homicide
through an act of physical violence, in retaliation for Plaintiff reporting the possible
commission of a felony to law enforcement officials, and continuing to pursue and
petition the government for a redress of grievances specific to this offense, and
making charges opposing discriminatory practices in violation of Title VII of the
Civil Rights Act of 1964 and Title I of the Americans with Disabilities Act of 1990.

81. Plaintiff herein incorporates the aforementioned paragraphs and alleges, that
defendants committed an act of racketeering against Plaintiff, under color of law, in
conspired deprivation of Plaintiff's U.S. Constitutional protected rights, to inflict
physical and psychological bodily injury onto Plaintiff, in retaliation for the
aforementioned in paragraphs 1-80, including Plaintiff's continuous efforts to
petition the government for a redress of grievances specific to failure and neglect of
those entrusted with the professional responsibility to serve and protect all citizens of
the community equally, more specifically, Plaintiff, a victim of civil and criminal
harassment, by filing of a police report corroborating the possible commission of a
felony and Plaintiff's reporting of the possible commission of a felony, including
evidence of testimony given to law enforcement officers. Plaintiff alleges that
defendants engaged in this act of racketeering with intent to kill, inflict bodily injury,
threaten, harass and/or intimidate Plaintiff into ceasing further lawful, legal justice
and retribution against supervisors, administrators and co-workers of Kenosha
County Government, including Allan Kehl.

82. Plaintiff herein incorporates the aforementioned paragraphs and alleges that

the aforementioned defendants conspired to take this action, through a meeting of the
minds, and took overt predicate action in furtherance of fraudulent scheme to

impair and blemish Plaintiff's driving record, create additional financial expense to
Plaintiff, and adversely interfere with Plaintiff's insurance coverage by executing a
“hit” on Plaintiff's vehicle and thereby, defendants committed insurance fraud

through filing of false report and claims pertinent to the circumstances involving the
intentional accident through two insurance companies, State Farm Insurance and Mr.

Ventura’s insurance carrier, of which meets the required RICO element of use of
interstate commerce in furtherance of fraudulent scheme to inflict damage and injury
to person, property and business.

83. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the wires to
advance, conceal, perpetuate or further the fraudulent scheme based on a material
representation and/or misrepresentation of fact, this action constitutes a violation of
Title 18 U.S.C. Section 1343.

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84. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the U.S. mail
to plan, implement, advance, conceal and/or execute in furtherance of fraudulent
scheme, this action constitutes a violation of Title 18 U.S.C. Section 1341.

85. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action in furtherance of fraudulent scheme and/or objective
involved the use and/or financial transaction of a federally insured financial
institution, this action constitutes a violation of Title 18 U.S.C. Section 1344 (2).

86. Plaintiff herein incorporates all of the aforementioned paragraphs and alleges that
the aforementioned defendants collectively conspired, and were active, willing,
knowing and contributing participants and accessories to this action and could have
at any time reported said activity to the proper authorities and, thereby, prevented
subsequent tangible damage and injury, including personal and bodily injury, to
Plaintiff. A reasonable person could have foreseen the intended result and
causation of injury and damage, and/or potential homicide, as a result of this
outrageous and misleading conduct, including insurance fraud through intentional
misrepresentation of stated facts.

87. Plaintiff herein incorporates the aforementioned paragraphs and alleges that had the
City of Kenosha Police Department and the Kenosha County Sheriff's Department
performed their professional sworn responsibilities to serve and protect all citizens
of the community equally regardless of politics and political favors and associations
and connections, by investigating and/or referring to the appropriate authoritative
body for investigation, the aforementioned, this cause of action, and the subsequent
causes of action, would never have ensued and caused irreparable damage and injury
to Plaintiff and her children. Based on the totality of circumstances to date, on or
before October of 2002, through present time of January of 2008, Plaintiff alleges
that both the City of Kenosha Police Department and the Kenosha County Sheriff’s
Department were fully cognizant of, if not actual participants in, the unlawful
harassment being taken against Plaintiff and turned a willful blindness by deliberate
neglect and failure to perform their sworn responsibilities of enforcing state and
federal civil rights and RICO violations and/or referring for investigation to the
appropriate authoritative body and/or jurisdiction, in conspired deprivation of U.S.
Constitutional protected rights, including the right to due process and equal
protection of the laws prior to deprivation of life, liberty and property.

88. Plaintiff herein incorporates the aforementioned paragraphs and affirms that Plaintiff
has been financially injured by this specific action in the amount of $60,000.

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COUNT FIVE

$9. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Mr.
Alian Kehl, acting under color of law, conspired, through a meeting of the minds
with Holly Ashley, c/o Dr. Charles Ashley, 4906 — 68" Street, Kenosha, Wisconsin,
Dennis Schultz, Director of Kenosha County Department of Health and Human
Services, Frank Matteo, Director of Kenosha County Division of Health Services,
Randall E. Wergin, Environmental Health Director, Kenosha County Division of
Health Services, Ric Schmidt, Chief Executive Officer, United Hospital Systems,
and “John Doe Defendants” and intentionally and maliciously abused the
authoritative power of his office and his close personal and professional association
to Dennis Schultz, then-Director of Kenosha County Department of Health and
Human Services, to retaliate against Plaintiff for making a complaint and/or charge
opposing discriminatory practices within the Kenosha County work environment and
for reporting the possible commission of a felony to local, state and federal law
enforcement officials, including testimony incriminating his administration and/or
administrators and/or affiliates and/or associates of his administration, by falsifying a
dog bite report on Plaintiff's then-pet canine, Winston, on March 21, 2003, with the
Kenosha County Division of Health Services, working in concert with United
Hospital Systems, Kenosha, Wisconsin.

90. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Allan
Kehl worked for 2-3 years at United Hospital Systems, 6308 — 8" Avenue, Kenosha,
Wisconsin, under the direction of Mr. Ric Schmidt, in between his time as Kenosha
County Sheriff and Kenosha County Executive of Kenosha County, Wisconsin.

91. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Mr. Kehl
and “John Doe Defendants” took administrative action, under color of law, across
state lines, to interfere and tamper with Plaintiff's canines’ medical records, medical
care and treatment at Antioch Animal Hospital, 40949 Highway 83, Antioch, Illinois,
including falsification of dog bite report, to inflict damage and injury to Plaintiffs
person, property and business, including bodily injury, due to extreme infliction of
emotional distress, in conspired deprivation of U.S. Constitutional protected rights of
First, Fourth and Fourteenth Amendments, including the right to procedural due
process and equal protection of the laws when falsely accused of a crime.

92. Plaintiff herein incorporates the aforementioned paragraphs and alleges that due to
the totality of circumstances to date on or before October of 2002, through present
time of January of 2008, constituting a continuity and similarity of pattern with
related intent, purpose and causation of infliction of damage and injury, that
defendants conspired to initiate, implement and execute this fraudulent scheme of
overt predicate action, across state lines, to defraud plaintiff financially through
fraudulent expenses for nonexistent actions and additional expenses associated with
intentional destruction and/or falsification of both Plaintiff's canines’ medical
records,

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93. Plaintiff herein incorporates the aforementioned paragraphs and alleges that based on
the totality of circumstances to date on or before October of 2002, through January of
2008, that Mr. Kehl orchestrated this specific action, working in concert with the
aforementioned in this specific cause of action, including John Doe Defendants, to
threaten, intimidate, harass and inflict further intentional stress onto Plaintiff, to
discourage her from seeking further lawful, legal action against his administration,
and for continuously petitioning the government for a redress of grievances specific
to Plaintiff reporting the possible commission of a felony to law enforcement officers
and the probable cover-up that ensued to protect those responsible from being held
lawfully and legally accountable for their actions, and to discredit and disqualify
Plaintiffs character by making her appear as a neglectful dog owner, unstable,
unable to manage and control her pet canine, and, thereby, adversely affect Plaintiff's
insurance coverage by creating a potential liability through fraudulent practices and
fictitious scenarios.

94. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Holly Ashley, who was in town visiting her father, Dr. Charles Ashley from
Minneapolis, Minnesota, deliberately and intentionally lied to public officials,
including hospital personnel, on March 21, 2003, when she falsely accused
Plaintiff's canine of biting her, more specifically, ripping a layer of her skin off, on
March 20, 2003. Ms. Ashley left the state of Wisconsin on March 21, 2003, after
filing a false report with the Kenosha County Division of Health Services on March
21, 2003, and United Hospital System, Kenosha, Wisconsin.

95. Plaintiff herein incorporates the aforementioned paragraphs and alleges that this
specific cause of action constituting fraud caused Plaintiff significant financial
damage and was a significant and contributing factor to Plaintiff's bodily injury and
Winston’s premature death, due to falsified report and subsequent actions taken,
based on the information and content of report, in conspired deprivation of Plaintiffs
procedural and substantive right to due process and equal protection of the laws prior
to deprivation of life, liberty and property.

96. Plaintiff herein incorporates all of the aforementioned paragraphs and alleges that
since this overt predicate action was conspired through a meeting of the minds, in
furtherance of fraudulent scheme to deprive Plaintiff of the intangible right of honest
services through deceitful practices, this action constitutes a violation of Title 18
U.S.C. Section 1346.

97. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the wires to
advance, conceal, perpetuate or further the fraudulent scheme based on a material
representation and/or misrepresentation of fact, this action constitutes a violation of
Title 18 U.S.C. Section 1343.

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98. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the U.S. mail
to plan, implement, advance, conceal and/or execute in furtherance of fraudulent
scheme, this action constitutes a violation of Title 18 U.S.C. Section 1341.

99. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action in furtherance of fraudulent scheme and/or objective
involved the use and/or financial transaction of a federally insured financial
institution, this action constitutes a violation of Title 18 U.S.C. Section 1344 (2).

100, Plaintiff herein incorporates all of the aforementioned paragraphs and alleges that
the aforementioned defendants collectively conspired, and were active, willing,
knowing and contributing participants and accessories to this action and could have
at any time reported said activity to the proper authorities and, thereby, prevented
subsequent tangible damage and injury, including personal and bodily injury to
Plaintiff. A reasonable person could have foreseen the intended result and
causation of injury and damage as a result of this outrageous and misleading
conduct and intentional misrepresentation of stated facts.

101. Plaintiff herein incorporates the aforementioned paragraphs and alleges that had the
City of Kenosha Police Department followed proper policy and procedure on
October 18, 2002, and subsequent appraisals of unlawful, criminal harassment, in
violation of state and federal statutes, thereafter, and/or referred to the appropriate
authoritative body, this specific cause of action, the aforementioned causes of action
and the subsequent causes of action would not have taken place and caused
irreparable damage and injury to Plaintiff's person, property and business, including
bodily injury, due to intentional infliction of emotional distress, in conspired
deprivation, under color of law, of Plaintiffs First, Fourth, and Fourteenth
Amendment U.S. Constitutional protected rights.

102. Plaintiff herein incorporates the aforementioned paragraphs and alleges that had
the Kenosha County Sheriff's Department investigated and/or referred to the
appropriate authoritative body, any and all of Plaintiff's allegations and reports to
their department on or before October of 2002, through then-present time of
January of 2004, including Plaintiff's verbal communications with Sheriff David
Beth and Chief Deputy Charles Smith, this specific cause of action, the
aforementioned and the subsequent causes of action taken since October of 2002,
would not have been planned, initiated, implemented and executed in furtherance of
fraudulent scheme to inflict irreparable damage and injury to Plaintiff and her
family due to willful blindness, failure and neglect to enforce state and federal
statutes relevant to civil rights and RICO violations, and failure to protect and keep

Plaintiff and her family safe from future harms, in conspired deprivation of U.S.
Constitutional protected rights of First, Fourth, and Fourteenth Amendments, under
color of law, by the Kenosha County Sheriffs Department.

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COUNT SIX

103. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
based on the totality of circumstances to date, on or before October of 2002,
through present time of January of 2008, that Plaintiff's Uncle Bruce Makar, San
Mateo, California, was the probable victim of foul play due to his professional
background and numerous intellectual attributes, including high knowledge and
applicability of employment law. Mr. Makar had successfully litigated and won a
lawsuit against a former employer, Coldwell Banker, just a few years prior to 2002.

104. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Bruce Makar died on May 2, 2003, while undergoing dialysis in San Mateo,
California. Based on the totality of circumstances to date, on or before October of
2002, through present time of January of 2008, and the aforementioned defendants
in paragraphs #2-9, 13-15 & 22, direct ties and association to racketeering
enterprises and organized crime, the high stakes legalities involved, and the fact
that Mr. Makar would have made an incredible ally due to his mental strength,
education, intelligence, perseverance and experience, Plaintiff reported her
concer of possible foul play to law enforcement authorities attributable to his
death, with specific intent, purpose and causation to eliminate a potential witness,
and/or threaten, harass and intimidate Plaintiff into ceasing further lawful, legal
action against defendants.

105. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Mr.
Makar had a legal background and extensive knowledge of law, since he completed
two and a half years of law school at Chicago-Kent College of Law in Illinois, and
was a successful Plaintiff in a lawsuit against a former employer, Coldwell Banker,
just a few years prior to 2002.

106. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff had appraised her then-employer, Allan Kehl, of the stated facts in
paragraph #105, following the incident with her canine, Winston, in April of 2003.

107. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
local, state and federal law enforcement authorities, in both the States of Wisconsin
and South Carolina, have consistently refused to investigate this specific action
and/or any and all of the aforementioned and subsequent causes of action in this
federal suit and the federal suit in the U.S. District Court of Charleston, South
Carolina, in deprivation of Plaintiffs First, Fourth, Fifth, Eighth and Fourteenth
Amendment rights.

108. Plaintiff herein incorporates the aforementioned paragraphs and alleges that had
the City of Kenosha Police Department followed proper policy and procedure on
October 18, 2002, and, thereafter, after appraisals of unlawful harassment,
including referral to the appropriate authoritative body, this specific cause of

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action, the aforementioned and subsequent causes of action would not have been
further planned, initiated, implemented and executed and the cause of irreparable
damage and injury to Plaintiff and her family, including future harms, directly
attributable to the willful blindness of civil/criminal harassment in violation of state
and federal civil rights and RICO laws, by this law enforcement agency, under color
of law, in conspired deprivations of U.S. Constitutional protected rights of First,
Fourth, Eighth and Fourteenth Amendments.

109. Plaintiff herein incorporates the aforementioned paragraphs and alleges that had
the Kenosha County Sheriff's Department investigated and/or referred to the
appropriate authoritative body, any and all of Plaintiff's allegations and reports to
their department on or before October of 2002, through then-present time of
January of 2004, including Plaintiff's verbal communications with Sheriff David
Beth and Chief Deputy Charles Smith, this specific cause of action, the
aforementioned and the subsequent causes of action taken since October of 2002,
would not have been further planned, initiated, implemented and executed and the
cause of irreparable damage and injury to Plaintiff and her family, including future
harms, directly attributable to the willful blindness of civil/criminal harassment in
violation of state and federal civil rights and RICO laws, by this law enforcement
agency, under color of law, in conspired deprivation of U.S. Constitutional
protected rights of First, Fourth, Eighth and Fourteenth Amendments.

COUNT SEVEN

110. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through present
time of January of 2008, constituting a continuity of pattern with similar, intent,
purpose and causation to inflict irreparable damage and injury to Plaintiff's person,
property and business, including infliction of bodily injury, due to intentional
infliction of emotional distress, minus due process and equal protection, that
defendants in paragraphs 2-9, 13-16 & 22, conspired to, had knowledge of,
participated in and/or took overt predicate action in furtherance of fraudulent
scheme by intentionally and adversely interfering with Plaintiff's contractual
relations with attomey-client association and attorney-client privilege, between
Plaintiff and Thomas W. Anderson, Junior, Attorney-at-Law, 5401 — 60" Street,
Kenosha, Wisconsin in a divorce matter in violation of plaintiff's state and federal
rights to privacy, under color of law, and in conspired deprivation of U.S.
Constitutional protected First, Fourth and Fourteenth Amendment rights.

111. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Thomas Anderson Jr. accepted to represent Plaintiff, Heather C. Hoffman, in a
separation/divorce matter on July 30, 2003, under false pretenses, with
dishonorable intentions in furtherance of fraudulent scheme and/or objective of
“enterprise” and/or “association in fact” to defraud Plaintiff of her business and
property thereby, the intangible right of honest services, under color of law, with

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similar intent, purpose and causation to inflict irreparable financial damage and
injury to Plaintiff's person, property, and business.

112. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff hired and paid Mr. Anderson a retainer fee of $1700.00 on July 30, 2003,
to represent Plaintiff in a separation/divorce matter.

113. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date on or before October of 2002, through present
time of January of 2008, demonstrating continuity of adverse interference with
Plaintiff's person, property and business, inclusive of the aforementioned
paragraphs of 1-113 in this legal suit and subsequent paragraphs hereafter, that
defendants, through intrusive violation of Plaintiff's privacy rights, under color
of law, intercepted information and/or communication regarding Plaintiff's initial
contact and hiring of Thomas Anderson, Jr., to represent Plaintiff in a separation
and divorce matter on July 30, 2003, and, thus, conspired with Mr. Anderson to
defraud Plaintiff of her business and property through inadequate, unethical
legal representation reflective of intentional omissions, misrepresentations and
fraudulent legal writings in direct conflict with Wisconsin State Statute of which
could have been legally appealed and possibly overturned in a court of law.

114. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Mr.
Anderson acted with specific, malicious intent and demonstrated gross misconduct
when he accepted and took overt predicate action to represent Plaintiff in a legal
separation/divorce matter on July 30, 2003, under false pretenses, in furtherance of
fraudulent scheme of action to defraud Plaintiff of her business and property, in
violation of the Professional Code of Ethics of Lawyers.

115. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Mr.
Anderson, with malicious intent, did not represent Plaintiff to the best of his
professional capabilities, but instead, intentionally performed sloppy legal work
thereby, creating potential loopholes for appeal by Plaintiff's ex-husband, and
subsequent damage and injury to Plaintiff's property and business, including
legal title of ownership of Plaintiff's vehicle, then-residential property at 4705 —
67" Place, Kenosha, Wisconsin, and assumption of all marital debt by Plaintiff,
excluding ex-husband’s student loans and AT & T credit card. Based on
totality of information to present date of January of 2008, Plaintiff alleges
that Mr. Anderson was cognizant of and an active participant in furtherance of
the conspiratorial objective of “the enterprise” to defraud Plaintiff and adversely
used his professional position of trust and authority, in violation of the
Professional Code of Ethics of Lawyers, to inflict irreparable damage and
injury to his client’s, Plaintiff's, business and property, under color of law, in
conspired deprivation of Plaintiff's First, Fourth and Fourteenth U.S.
Constitutional protected rights.

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116. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through
present time of January of 2008, that as of July 30, 2003, Mr. Anderson became
an active participant in the fraudulent scheme, using Plaintiff's trust, confidence
and guidance in his professional reputation, counsel and legal work, both within
and outside of the courtroom, as a retaliatory weapon against Plaintiff by
corroborating with the “enterprise” and/or “association in fact”, intentionally
misleading Plaintiff through legal counsel, omissions and factual
misrepresentations in legal documents, making a mockery of the judicial system
on January 23, 2004, by not having the proper legal documents in his possession
to finalize the paperwork in the divorce proceeding of January 23, 2004,
knowingly and willfully using an official court room proceeding in furtherance of
fraudulent scheme to defraud, and providing unprofessional, legal documentation
following the proceeding relevant to the legal ownership of Plaintiff's possessions.

117. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff was irreparably financially injured in her property and business due to
Mr. Anderson’s intentional omissions and misrepresentations in his legal
representation of at least $300,000.

118. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Plaintiff provided both verbal and written complaint to the Wisconsin State
Supreme Court, Office of Lawyer Regulation, 110 East Main Street, Suite 315,
Madison, Wisconsin, specific to Mr. Anderson’s apparent conflict of interest in
legal representation of client and Plaintiff, Heather C. Hoffman.

COUNT EIGHT

119, Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through present
time of January of 2008, that the aforementioned defendants in paragraphs #2-9, 13-
15, 17 & 22, conspired, through a meeting of the minds, under color of law, to
adversely interfere with Plaintiff's fundamental protected right to privacy, as
afforded to her under the Fourth Amendment and state and federal privacy laws, in
conspired deprivation of the First and Fourteenth Amendments, including
deprivation of life, liberty and property, minus procedural and substantive due
process and equal protection of the laws, pertinent to privacy of association and
confidentiality in patient medical care and treatment on November 26, 2003, and
December 9, 2003.

120. Plaintiff herein incorporates the aforementioned paragraphs and alleges that due
to the extreme stress that Plaintiff was continuously subjected to attributable to the
adverse employment action of working in a “hostile working environment”, that
Plaintiff scheduled a medical appointment for a complete physical evaluation with
Dr. Leilane U. Sta Romana, M.D., Dominician Medical Building, 3734 Seventh
Avenue, Kenosha, Wisconsin, on November 26, 2003.

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121. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff received her physical evaluation and examination by Diane Roberts, Nurse
Practitioner, for Dr. Leilane U. Sta Romana on November 26, 2003.

122. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff returned to Dr. Sta Romana’s office on December 9, 2003, in follow-up to
office visit of November 26, 2003. Plaintiff met with and discussed results of
physical examination of November 26, 2003, and blood/lab work results of
November 28, 2003, with Ms. Roberts, and underwent a pap smear/pelvic exam.

123. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff requested to discuss her concerns pertinent to lab work results of
November 28, 2003, with Dr. Sta Romana. Plaintiff was told by Ms. Roberts that
Dr. Sta Romana had no concerns specific to the results of the lab work, and,
therefore, there was no need to meet with Plaintiff.

124. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Plaintiff has never met, spoke with, and/or ever had any contact or association with
her then-primary physican, Dr. Leilane U. Sta Romana. Plaintiff, to the best of her
knowledge, has never seen Dr. Sta Romana.

125. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based
on the totality of circumstances to date, that the aforementioned defendants,
conspired to intentionally interfere with Plaintiff's medical privacy and association
and confidentiality with Dr. Sta Romana’s office to circumvent her meeting with
Dr. Sta Romana and discussing the unlawful harassment within the Kenosha
County working environment and the adverse effect that it was having on
Plaintiff's physical and psychological health, including the retaliatory second hand
smoke, in violation of Wisconsin State Statute.

126. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
defendants conspired to adversely interfere in Plaintiff's federally protected right to
medical privacy, association and confidentiality, to impede, hinder, obstruct and
defeat the due course of justice in a legal proceeding by eliminating a potential
expert witness who could confirm Plaintiff's then-physical and psychological
health in correlation to Plaintiff's then hostile retaliatory working environment.

127. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
prior to October of 2002, Plaintiff never called in sick to work and actually lost
vacation days/time due to her strong work ethic and commitment to her position.
Plaintiff attests to this same commitment with her previous employment positions.

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128. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff suffered debilitating migraine headaches due to the extreme stress of the
adverse employment action, both within and outside of the working environment,
and called in sick on numerous occasions between the time period of October of
2002, through then-present time of January of 2004.

129. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
defendants and Dr. Sta Romana, maliciously, under false pretenses, conspired
to violate and obstruct Plaintiff's right to privacy and association specific to
medical care and treatment, in violation of the Fourth Amendment, minus
procedural and substantive due process and equal protection of the laws, and
conspired to deprive Plaintiff of patient-physician consultation and professional
medical care and treatment by a licensed physician of the State of Wisconsin,
specific to her health concerns, ailments and medical tests.

130. Plaintiff hereby incorporates the aforementioned paragraphs and alleges that
Plaintiff and her then-insurance company, Blue Cross Blue Shield, a business
engaged in interstate commerce, were charged and paid for fraudulent medical
expenditures.

131. Plaintiff hereby incorporates the aforementioned paragraphs and alleges that
Plaintiff has been adversely affected by this specific cause of action since Plaintiff
no longer trusts the private confidentiality and association of patient-physician
medical care and treatment due to the intentional interference and gross violation
and exploitation of Plaintiff's medical privacy, in violation of state and federal
privacy laws and U.S. Constitutional protected First, Fourth and Fourteenth
Amendment rights, specific to this action and inclusive of and associated with
Paragraphs 72-78 of this legal suit.

132, Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through present
time of January of 2008, and Plaintiff's knowledge of the thoroughness and medical
diligence and professionalism of Dr. Sta Romana, based on the recommendations of
other patients’, that Dr. Sta Romana deviated from her normal practice, policy and
procedure of application of hands on medical care and treatment by a licensed
physician of the State of Wisconsin, when she intentionally conspired and acted in
furtherance of conspired deprivation of Plaintiff's rights, under color of law, by
intentionally discriminating against Plaintiff in providing fraudulent medical care
and treatment.

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COUNT NINE

133. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through
present time of January of 2008, that Paul Kresse, 3402 — 88" Street, Kenosha,
Wisconsin, entered into a contract with Plaintiff, Heather C. Hoffman, to make
home improvements on Plaintiff's then-residential property at 4705 — 67" Place,
Kenosha, Wisconsin, on May 12, 2004, under false pretenses, in furtherance of
fraudulent scheme to inflict damage and injury to Plaintiff's person, property and
business, including bodily injury, due to intentional infliction of emotional distress,
in conspired deprivation of U.S. Constitutional protected rights, by intentionally
sabotaging his work and Plaintiff's property so that Plaintiff would express her
dissatisfaction thereby, giving Mr. Kresse the opportunity to breach the contract,
quit the job, fail to perform the specified tasks in accordance to contract of May 12,
2004, and defraud Plaintiff financially.

134. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Mr.
Kresse accepted Plaintiff's job offer to perform/make home improvements with
specific, malicious intent to defraud Plaintiff of the intangible right to honest
services by entering into contractual relations with Plaintiff with malice
forethought to take Plaintiff's money without performing the work, thereby,
depriving Plaintiff of her financial resources, the need to hire another
contractor at additional expense to Plaintiff, including additional work to be
performed due to Mr. Kresse ordering improper and ill fitting materials and, thus,
further delaying the listing of Plaintiff's home on the real estate market
causing Plaintiff additional financial injury.

135. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Mr. Kresse accepted the position as contractor to Plaintiff, working in concert
with the “association in fact”, including aforementioned defendants in paragraphs
2-9, 13-15, 18-19 & 22, to intentionally defraud Plaintiff in retaliation for Plaintiff
making a charge and providing testimony in an official hearing before
Administrative Law Judge John C. Gelhard, State of Wisconsin, Department of
Workforce Development, Division of Unemployment Insurance, on April 21, 2004,
against Allan K. Kehl and his administration opposing discriminatory practices in
the workplace in violation of Title VII of the Civil Rights Act of 1964, Title I of
the Americans with Disabilities Act of 1990, and inclusive of the entirety of the
information contained in the paragraphs of 1-135, and hereafter in this legal suit.

136. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Plaintiff paid Mr. Kresse $1400.00 on May 12, 2004. Plaintiff was to pay
Mr. Kresse an additional $300.00 upon completion of work.

137. Plaintiff herein incorporates the aforementioned paragraphs and attests that Mr.
Kresse installed a new garbage disposal for Plaintiff. Mr. Kresse refused to
provide to Plaintiff a receipt and warranty of this purchase.

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Plaintiff herein incorporates the aforementioned paragraphs and alleges that

Mr. Kresse inflicted further tangible damage to two of Plaintiff's kitchen drawers
that Mr. Kresse had taken home to work on, improperly assembled the

hardware, and improperly installed both drawers. When Plaintiff verbally
addressed her concerns to Mr. Kresse over the phone, Mr. Kresse refused to discuss
and/or visually take a look at Plaintiff's concerns and immediately quit the job.

Mr. Kresse refused to provide to Plaintiff any tangible receipts to verify and show
proof of purchase of supplies and supplier, including garbage disposal, doors, and
hardware.

138. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Plaintiff hired Pat Jager, 906 Washington Road, Kenosha, Wisconsin, on July 25,
2004, (proposal #2318) to complete the work, including having to cut down (3)
sets of slider doors and install new hardware (not the hardware purchased by Mr.
Kresse); and cut down (2) new interior doors and install. This cost Plaintiff
additional time, financial resources, and extreme aggravation due to the additional
expense, time and resources.

139. Plaintiff herein incorporates the aforementioned paragraphs and alleges that, not
including emotional distress and injury, Plaintiff was financially injured in the
amount of $7,000.00 by this fraudulent transaction.

140. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through
present time of January of 2008, constituting an ongoing continuity of pattern,
with similar intent, purpose and causation to defraud Plaintiff of her business and
property and inflict bodily injury, working in concert with those clothed
under color of law, in conspired deprivation of Plaintiff's First, Fourth
and Fourteenth U.S. Constitutional protected rights, including due process and
equal protection of the laws prior to deprivation of life, liberty and property, that
Paul Kresse took overt predicate action, working in concert with a “third party”
and/or “association in fact” and/or enterprise, in furtherance of fraudulent scheme
to defraud Plaintiff of her business and property, when he entered into a
contractual agreement with Plaintiff and accepted payment to perform home
improvement tasks, as specified in the written and signed contract of May 12,
2004, with specific intent, purpose and causation to damage Plaintiff's tangible
property and thereby, depreciate the value of Plaintiff's property, deliberately
create a situation to breach the contract and leave Plaintiff with insufficient
supplies and materials to successfully complete the project without taking
additional time and financial resources to hire another contractor to complete the
project, and intentionally omitting tangible receipts of proof of purchases for all
merchandise and supplies, including warranties, due to fraudulent deceit of
totality of business transaction and association with Paul Kresse.

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141. Plaintiff herein incorporates the aforementioned paragraphs and alleges that this
specific cause of action was taken by the aforementioned defendants, under color
of law, attributable to the intentional failure and neglect of the City of Kenosha
Police Department and the Kenosha County Sheriff's Department to investigate
and/or refer for investigation Plaintiff's continuous allegations of overt predicate
retaliatory acts of civil and criminal harassment in October of 2002, through
present time of January of 2008, both within and outside of the work environment,
in violation of state and federal civil rights and RICO statutes, and in conspired
deprivation of Plaintiff's First, Fourth, and Fourteenth Amendment rights,
including due process and equal protection of the laws to all citizens of the
community equally, specifically a victim of criminal harassment constituting “acts
of racketeering” by those specifically connected to and associated with organized

crime. This cause of action has been a significant contributing factor to Plaintiff's
physical and psychological bodily injury, due to conspired deprivation of Plaintiffs
due process and equal protection of the laws, by those entrusted with the sworn
responsibility of enforcement of the laws and equal protection to all citizens.

COUNT TEN

142, Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through present
time of January of 2008, that the aforementioned defendants in paragraphs 2-15 &
22, retaliated against Plaintiff for all the aforementioned in paragraphs 1-142,
inclusive of this legal suit, in furtherance of retaliatory, fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff, by conspiring to adversely
interfere with, and then taking overt predicate action in furtherance of, working in
concert with Family Court Commissioner James Fitzgerald on June 24, 2004, under
color of law, to intentionally deprive Plaintiff of her U.S. Constitutional protected
right to provide for the care and management of her two children, as afforded to her
under the First and Fourteenth Amendments, by demonstrating clear bias and
prejudice against Plaintiff and her two children.

143. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Family Court Commissioner James Fitzgerald was acting outside of his judicial
and official capacity as Family Court Commissioner of the Kenosha Circuit Court,
when he conspired to adversely use his entrusted, sworn judicial power of
authority and his courtroom as a retaliatory weapon against Plaintiff and her
two children in furtherance of fraudulent scheme and/or plan or objective to inflict
retaliatory damage and injury to Plaintiff and her family, including bodily injury,
due to intentional infliction of emotional distress, minus due process and equal
protection of the laws, in his official courtroom proceeding of June 24, 2004.

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144. Plaintiff herein incorporates the aforementioned paragraphs and alleges that, based
on the totality of circumstances to date, on or before October of 2002, through
present time of January of 2008, with similar intent, purpose and causation of
infliction of damage and injury, under color of law, with conspired deprivation of
U.S. Constitutional protected rights of First, Fourth and Fourteenth Amendments,
Family Court Commissioner James Fitzgerald was fully cognizant of and a direct
participant in the fraudulent retaliatory scheme to inflict further damage and injury
to Plaintiff by abusing and misusing his judicial authority and family courtroom in
furtherance of fraudulent scheme.

145, Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Family Court Commissioner James Fitzgerald openly ridiculed and mocked
Plaintiff in open court regarding her resignation of employment with Kenosha
County Government in January of 2004, attributable to working in a hostile
working environment in violation of state and federal laws and U.S. Constitutional
protected rights, fully cognizant of and having knowledge of the overt predicate
acts of retaliatory harassment and adverse interference taken by this employer
against Plaintiff, under color of law, in order to threaten, harass, intimidate, destroy
and deter Plaintiff from seeking further lawful, legal action against this employer,
and being in a position of judicial authority, intentionally turned a willful
blindness to the civil and criminal harassment by failure and neglect to report
unlawful harassment to appropriate law authoritative body, and, instead,
using his judicial authority to inflict additional injury by feigning ignorance of
said activity and mocking and ridiculing both Plaintiff and her ex-husband
specific to the retaliatory conduct of adverse employment action taken by the
Kenosha County administration, including adverse interference with the family
court system in matters affecting Plaintiff's two children, by rendering his ruling
against Plaintiff and her two children based on bias and prejudice.

146. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff disclosed in open court on June 24, 2004, to Family Court Commissioner
James Fitzgerald, the circumstances that led up to Plaintiff's decision to tender
her resignation of employment from Kenosha County government in January of

2004. Plaintiffs ex-husband also testified that he felt that he was terminated from
his position of employment with American Appraisals in March of 2004,
attributable to Plaintiff's former employer. Plaintiff alleges this admission by
Plaintiff, as well as her ex-husband, Kevin Paskiewicz, constitutes appraisal of
unlawful harassment, in violation of state and federal civil rights and RICO statutes,
by a former employer and/or associates and/or affiliates of members of this
employers administration, to a judicial authority, of which constitutes tangible
evidence of admission of unlawful harassment, in a sworn official hearing, under
oath, by a victim of criminal, retaliatory harassment, thereby, placing Family Court
Commissioner James Fitzgerald in a professional and obligatory responsibility of
reporting said activity to appropriate law enforcement officials.

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147. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Family Court Commissioner, with malicious intent, ruled against Plaintiff and her
two children in this court hearing of June 24, 2004, and in support of Kevin
Paskiewicz without inquiry and/or mention of Plaintiff's two children.

148, Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff requested a copy of the court transcripts of June 24, 2004, from family
court reporter, Dorothy Dosemagen, to substantiate an abuse and misuse of judicial
authority and discretion by a judicial officer of the court, including using his
courtroom in a legal proceeding as a retaliatory weapon to mock, ridicule, deceive
and further inflict financial damage and injury to Plaintiff and her children by
substantially reducing Mr. Paskiewicz’s financial obligations without ever once
mentioning and/or inquiring about the children and/or their needs, including health
insurance costs due to unemployment. Plaintiff was informed by Dorothy
Dosemagen, both verbal and written, that no court transcripts were taken of the
proceeding of June 24, 2004.

149. Plaintiff herein incorporates the aforementioned paragraphs and alleges that this
constitutes a deprivation of Plaintiff's First and Fourteenth Amendment rights,
since it hinders Plaintiff's right to appeal Family Court Commissioner James
Fitzgerald’s ruling directly attributable to extreme abuse of judicial authority based
on bias and prejudicial behavior, and conceals evidence of fraudulent use of an
official court proceeding with conspired malicious intent to deprive Plaintiff of the
intangible right to honest services, in conspired deprivation of due process and
equal protection of the laws.

150. Plaintiff herein incorporates the aforementioned paragraphs and alleges that judicial
officers of the court, intentionally concealed, tampered with, and/or destroyed
physical, tangible evidence of conspired, criminal activity, of which included
the use of an official family courtroom proceeding in furtherance of fraudulent
scheme on June 24, 2004, working in concert with judicial officers of the court, of
which constitutes obstruction of justice with specific intent to impede, hinder and

obstruct the due course of justice by destroying and/or concealing tangible evidence
of a criminal conspiracy, in violation of Plaintiff's First and Fourteenth

Amendment rights, as it disallows Plaintiff of the opportunity to present this
evidence to federal officials and disallows Plaintiff of the opportunity to present this
legal material as physical evidence to this U.S. District Court of Milwaukee,
Wisconsin.

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151. Plaintiff herein incorporates the aforementioned paragraphs and alleges that the
court transcripts of June 24, 2004, would have provided to federal authorities
tangible physical evidence of Plaintiff's disclosure of unlawful harassment to a
judicial officer of the court, under sworn oath, in an open court proceeding,
directly linking high ranking Kenosha County officers and administrators to
unlawful and discriminatory harassment; therefore, this constitutes evidence of
a motive, means and opportunity for subsequent retaliatory harassment and
actions taken, including obstruction of justice, to destroy physical evidence of
testimony pertinent to unlawful conduct.

COUNT ELEVEN

152. Plaintiff herein incorporates all of the aforementioned paragraphs and alleges,
based on the totality of circumstances to date, on or before October of 2002,
through present time of January of 2008, with ongoing continuity of pattern
consistent of similar intent, purpose and causation to inflict irreparable financial
damage and injury to Plaintiff's person, property and business, including bodily
injury, due to intentional infliction of emotional distress, in conspired deprivation
of due process and equal protection of the laws, that the aforementioned
defendants in paragraphs 2-16, 18-19 & 22, conspired, through a meeting of the
minds, under color of law, in furtherance of fraudulent scheme of action to defraud
Plaintiff of her business and then-residential property at 4705 — 67" Place,
Kenosha, Wisconsin, and took over predicate action, across state lines, through
adverse interference with the real estate listing and sale of Plaintiffs residential
property, on or before July of 2004, through then-present time of July of 2005.

153. Plaintiff herein incorporates all of the aforementioned paragraphs and alleges that
defendants, including John Doe Defendants, were active, contributing participants
in a fraudulent scheme to defraud Plaintiff of her financial resources and property,
clothed in state power, through intentional deceit and a malicious fraudulent
misrepresentation of facts in real estate contract of July 26, 2004, and any and all
contracts thereafter, in conspired deprivation of Plaintiff's First, Fourth,

Eighth and Fourteenth U.S. Constitutional protected rights.

154. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on

the totality of circumstances to date, on or before October of 2002, through

present time of January of 2008, that defendants, more specifically, Fred and

Lena Schlater, Coldwell Banker Real Estate One, 6809 Green Bay Road, Kenosha,
Wisconsin, in furtherance of scheme to defraud, fully cognizant of Plaintiff's
financial situation due to adverse employment actions, interception and exploitation
of Plaintiff's privacy, in violation of the Fourth Amendment, entered into a real
estate contract with Plaintiff, under false pretenses, acting in concert with a third
party and/or association in fact, with conspired intent to hold off on legitimate offers
and/orpotential buyers for Plaintiff's property with purpose to inflict further
financial injury to Plaintiff thereby causing possible foreclosure and/or bankruptcy
and/or forced acceptance of extremely low offer on property.

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Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff entered into a Residential Listing Contract with Coldwell Banker

Real Estate One on July 26, 2004, to be effective through December 23, 2004.
Property was listed at $259,900. On December 21, 2004, Plaintiff verbally
conveyed to her listing agent, Sean Gitzlaff, via interstate telephone call from
Hilton Head Island, South Carolina, to Kenosha, Wisconsin, that Plaintiff was
considering holding off on contract extension due to no offers on property from July
26, 2004, through then present time of December 21, 2004.

Plaintiff herein incorporates the aforementioned paragraphs and affirms that on
December 22, 2004, Plaintiff received her first offer to purchase via facsimile
transmission from Kenosha, Wisconsin, to Hilton Head Island, South Carolina, in
the amount of $210,000 from Joshua and Elizabeth Gardner, Kenosha, Wisconsin,
per their agent, Kenneth Sprague, Coldwell Banker Real Estate One, Kenosha,
Wisconsin. Plaintiff countered and offer was accepted on December 29, 2004, in
the amount of $228,000 contingent on the sale of buyers residential property.

Plaintiff herein incorporates the aforementioned paragraphs and affirms that in
good faith Plaintiff returned to her then-residence of 4705-67" Place, Kenosha,
Wisconsin, in the latter half of January of 2005, to finalize the transaction and
make arrangements for relocation of personal belongings. Between the time
period of January of 2005, through April 29, 2005, based on discrepancies in
verbal and written communication(s), Plaintiff suspected fraud through
intentional misrepresentation(s) and omissions of stated facts in contract.

Plaintiff herein incorporates the aforementioned paragraphs and affirms that

on behalf of his clients, Joshua and Elizabeth Gardner, Kenneth Sprague

submitted to Plaintiff's agent, Sean Gitzlaff, a Residential Offer to Purchase

on December 22, 2004, of which contained a financing contingency that

was not reflective of actual pre-qualifications by financial lender, William

Gaudet of Coldwell Banker, on December 17, 2004. Plaintiff received this
qualification letter after the twenty day acceptance of the offer. In the offer of
12/22/04, relative to financing contingency, the Gardner’s had a mortgage of not
less than $180,000 for a term of not less than 30 years, monthly payment (principal
and interest) not to exceed $1,079.00, and annual interest rate not to exceed 6%.
Plaintiff, on advice of her agent, Sean Gitzlaff, had accepted this offer to purchase in
good faith and further progressed towards completion of transaction by incurring
additional time, resources and expense of traveling to Kenosha, Wisconsin, to make
arrangements. Relative to the Gardner’s terms upon initial submission of contract of
December 22, 2004, monthly payment, including principal and interest, would have
amounted to $1,079.19, so in actuality, this financial discrepancy could have legally
rendered this contract null and void.

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159. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff was assured by both parties that the Gardner’s pre-qualification and/or
financing approval, was consistent with financing contingencies of contract of
December 22, 2004. Plaintiff requested a copy of the pre-approval letter from the
lender. Pre-qualification letter of December 17, 2004, was not comparable to
financing contingency in Offer to Purchase of December 22, 2004. The Gardner’s

did not qualify for an interest rate of 6%, but instead, qualified for an interest rate on
or between 6.017 — 6.267%. The Gardner’s loan amount was set at $199,750,
therefore, rendering their monthly payment on or between $1,199.79 - $1,232.10.
Therefore, the terms and conditions stated and agreed upon in the Offer to

Purchase of December 22, 2004, were null and void due to actual lender
qualifications and buyers’ objectives and specifications of financing terms and
conditions pertinent to acting in “good faith” of property purchase. Plaintiff alleges,
based on the totality of circumstances to date, that this discrepancy was intentionally
falsified.

160. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff requested an amendment be entered into reflective of terms and conditions
of the financing pre-approval of December 17, 2004. The amendment dated March
14, 2005, contained a paragraph to include that the interest rate not exceed 6.25%;

however, that did not encompass the entirety of the terms and conditions of the
financing contingency on the original offer to purchase of December 22, 2004, of
which would change by this inclusion. Plaintiff requested an updated Offer to
Purchase be resubmitted reflective of terms and conditions of lender approved

financing.

161. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff received from the Gardner’s, via their agent, Kenneth Sprague, a pre-
qualification letter of approval from Peter Stone, Mortgage Loan Officer, Johnson
Bank, Kenosha, Wisconsin, reflective of new terms and conditions of financing
approval, including: loan amount of $193,000; monthly principal and interest not
to exceed $1,188.34; interest rate at 6.250%. In the revised Residential Offer to
Purchase dated March 29, 2005, reflective of pre-approved financing terms and
conditions of March 17, 2005, submitted by Kenneth Sprague, the first page had to
be changed to be reflective of then-current date of March 29, 2005, and binding
acceptance date of March 19, 2005. Plaintiff alleges, this was an intentional
inclusion of language by Mr. Sprague, to again, have some item contain
fraudulent information and/or misrepresentation to render the contract null and void.

162. Plaintiff herein incorporates the aforementioned paragraphs and alleges a
discrepancy in contract of March 29, 2005, regarding closing date of April 29,
2005, and sale of buyer’s contingency relative to sale and closing of then-property
no later than April 21, 2005, which automatically rendered the contract null and

void at 12:00 a.m. on April 22, 2005, prior to contract expiration date of April 29,
2005. Due to the established pattern of factual errors, Plaintiff alleges this was an
intentional misrepresentation of stated fact and/or false information.

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163. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff was informed by her listing agent, Sean Gitzlaff, on April 29, 2005, that
Joshua and Elizabeth Gardner were not extending contract due to finding
alternative property to purchase. Based on the continuity of pattern to date,
Plaintiff alleges that this was the specific intent, purpose and causation of the
Gardner’s and their agent, Kenneth Sprague, when initial offer to purchase was
made on December 22, 2004. Plaintiff sustained significant financial injury,
including bodily injury, due to this specific fraudulent scheme and/or specific
transaction of on or about $20,000.

164. Plaintiff herein incorporates the aforementioned paragraphs and alleges,
based on the totality of circumstances to date, that Kurt and Debbie Lawler,
Kenosha, Wisconsin, through their agent, Jennifer Sturino, Century 21 Baltes-
Selsburg, Kenosha, Wisconsin, were active participants in this fraudulent scheme
to inflict financial damage and injury to Plaintiff through adverse interference with
Plaintiff's business and property, under false pretenses, with intent, purpose and
causation to inflict damage and injury, including personal and bodily injury, and
took overt predicate action on April 29, 2005, via offer to purchase then-property at
4705 — 67" Place, Kenosha, Wisconsin, acting in concert with conspiracy and/or
association in fact, in the offered purchased price of $195,000.

165. Plaintiff herein incorporates the aforementioned paragraphs and affirms that on
May 26, 2005, an offer to purchase Plaintiff's property was submitted to Plaintiff
by Michael and Melissa Hartnell, via their real estate agent, Jodi Eidsor of
Prudential Premier Properties, Kenosha, Wisconsin, for the purchase price of
$218,000. Plaintiff countered and offer was accepted at $225,000. Through
various credits to buyer including: $6500 for roof and $2,000 for closing costs,
purchase price was reduced to $216,500; therefore, Plaintiff suffered substantial
financial injury over the prolonged period of July 26, 2004, through closing of
property on July 14, 2005. Plaintiff alleges, due to the totality of circumstances
to date, that this was the conspired retaliatory intent of all the participants in this
specific cause of action, acting in concert with those clothed under color of law, in
conspired deprivation of Plaintiff's U.S. Constitutional rights, including the
Fourteenth Amendment right of procedural and substantive due process and equal
protection of the laws prior to deprivation of life, liberty and property.

166. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff suffered severe financial damage and injury, including personal and
bodily injury due to intentional infliction of emotional distress, minus due
process and equal protection of the laws, directly attributable to the conspired,
overt predicate action taken in furtherance of fraudulent scheme to inflict damage
and injury to Plaintiff on July 26, 2004, through adverse interference and
fraudulent representation and misrepresentation of real estate contract(s) entered
into in good faith by Plaintiff and reflective of conflict of interest by Coldwell
Banker Real Estate One. Plaintiff was financially injured in her business and

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property by this transaction of at least $150,000 due to defendants’ conspired
actions.

167. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the wires to
to advance, conceal, perpetuate or further the fraudulent scheme based on a
material representation and/or misrepresentation, this action constitutes a violation
of Title 18 U.S.C. Section 1343.

168. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict financial damage and injury, including bodily injury, to
Plaintiff involved the use of the U.S. mail to plan, implement, advance, conceal
and/or execute in furtherance of fraudulent scheme, this action constitutes a
violation of Title 18 U.S.C. Section 1341.

169. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective involved the use of and/or financial transaction of a federally insured
financial institution, this action constitutes a violation of Title 18 U.S.C. Section
1344 (2).

170. Plaintiff herein incorporates the aforementioned paragraphs and alleges that this
specific cause of action and overt predicate action taken in furtherance of scheme
caused irreparable personal and bodily injury to Plaintiff since this act raped and
violated Plaintiff of her personal privacy, including desecration of personal space
and home, under false pretenses, in violation of the Fourth Amendment, minus
procedural and substantive due process of the laws prior to deprivation of life,
liberty and property, as afforded to Plaintiff under the Fourteenth Amendment.

COUNT TWELVE

171. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, on or before October of 2002, through present
time of January of 2008, constituting an ongoing continuity and similarity of
pattern, involving two or more predicate acts, across state lines, that subsequent
action was taken in furtherance of fraudulent scheme of “enterprise” and/or
“association in fact”, under color of law, by state actors, through malicious abuse of
power of authoritative position, under false pretenses and/or misconstrued
information, in conspired deprivation of Plaintiff's First, Fourth and Fourteenth

Amendment rights under the U.S. Constitution, to intentionally defraud and deprive
Plaintiff of her lawful, legal tangible property, a 1997 Mercedes Benz E-320, minus
due process and equal protection of the laws, in retaliation for plaintiff reporting the
possible commission of a felony to law enforcement officers, of which possibly
involved former public officials, supervisors, co-workers, associates and/or affiliates

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of Kenosha County Government, Kenosha, Wisconsin, including aforementioned
defendants in paragraphs 2-16 & 22, for Plaintiff making a charge and providing
testimony against this employer for engaging in intentional discriminatory
practices in violation of Title VII of the Civil Rights Act of 1964 and Title I of the
Americans with Disabilities Act of 1990, and for taking adverse action, both within
and outside of the work environment, across state lines, to harass, threaten, bully,
and intimidate Plaintiff into ceasing further legal action against this employer,
associates of and/or John Doe Defendants.

172. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, from October of 2002, through present time of
January of 2008, that Plaintiff may not possess a valid, title of legal ownership of
vehicle of the State of South Carolina Certificate of Title of a Vehicle relative to
Vehicle ID #WDBJF55F9VA387306, due to fraudulent and/or misrepresentation of
stated policy and procedure in re-issuance of new certificate of title of vehicle,
pursuant to Wisconsin State Statute 342.18 (3), by state employees of the
Wisconsin State Department of Transportation, Division of Motor Vehicles, hereby
referred to as “DMV” on March 16, 2005.

173. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Plaintiff, Heather C. Hoffman, acquired legal ownership of the above referenced
vehicle, a 1997 Mercedes-Benz E-320, in a divorce settlement and hearing on
January 23, 2004.

174, Plaintiff herein incorporates the aforementioned paragraphs and attests that
original title was reported as lost and/or stolen to the Wisconsin State DMV on
March 30, 2004, by Plaintiff, Heather C. Hoffman.

175. Plaintiff herein incorporates the aforementioned paragraphs and affirms the
Wisconsin State DMV reissued a replacement title of vehicle to Plaintiff, Heather
C. Hoffman, on March 30, 2004.

176. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Plaintiff's ex-husband, Kevin C. Paskiewicz, signed off on ownership of title of
vehicle on March 31, 2004.

177. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff went to the DMV the morning of March 16, 2005, to apply for new title of

ownership. Plaintiff was told by DMV that computers were down and to return the
afternoon of March 16, 2005.

178. Plaintiff herein incorporates the aforementioned paragraphs and attests that Plaintiff
returned to the DMV on the afternoon of March 16, 2005.

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179. Plaintiff herein incorporates the aforementioned paragraphs and attests that Plaintiff
received false and fraudulent information specific to the correct policy and
procedure in surrender of old title and reassignment of new title of ownership,
pursuant to Wisconsin State Statute 342.18 (3).

180. Plaintiff herein incorporates the aforementioned paragraphs and attests that Plaintiff
received fraudulent information relative to Wisconsin State policy and
procedure in reassignment of vehicle title, pursuant to Wisconsin State Statute
342.18 (3). Plaintiff was told by state employee of DMV to sign off on title of
March 30, 2004, as seller (beneath Plaintiff's ex-husband, Kevin Paskiewicz’s,
signature/date) and informed not to include and/or sign on as the buyer/purchaser
on legal document of title of March 30, 2004.

181. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff received a new title of ownership on March 16, 2005. Due to the drastic
change in appearance of title, including watermark, Plaintiff had misgivings about
the authenticity of new title of ownership of new title of March 16, 2005.

182. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff returned to the DMV the afternoon of March 16, 2005, to request to sign
on as buyer/purchaser of the title of March 30, 2004, after research of Wisconsin
State Statute pertinent to the aforementioned. Request was approved and action
taken.

183. Plaintiff herein incorporates the aforementioned paragraphs and attests the
authenticity of new title of ownership issued by the DMV to Plaintiff on March 16,
2005, was validated by the DMV the afternoon of March 16, 2005.

184. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date, that Plaintiff was intentionally provided
misinformation from the DMV in order to invalidate and nullify Plaintiff's lawful,
legal right of ownership of vehicle through fraud.

185. Plaintiff herein incorporates the aforementioned paragraphs and affirms, that this
action was taken by state actors, acting under color of law, to intentionally deprive
Plaintiff of her tangible property, minus procedural due process and equal
protection of the laws, prior to deprivation of life, liberty and property.

186. Plaintiff herein incorporates the aforementioned paragraphs and alleges that

Attorney Loren Keating, Loren J. Keating LLC, 1207 — 55" Street, Kenosha,
Wisconsin, was unable to substantiate validity of title on May 2, 2005.

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187. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff did not lawfully and legally register her vehicle in the State of South
Carolina until February 6, 2006, due to fear of defective title of ownership “color of
title” and/or “cloud on title” based on the false and misleading information given to
Plaintiff by the Wisconsin State DMV on March 16, 2005, and the significant
change in title appearance from March 30, 2004, through then-present time of
March 16, 2005.

188. Plaintiff herein incorporates the aforementioned paragraphs and alleges that prior
to vehicle registration in the State of South Carolina, Plaintiff reported her
concerns relative to authenticity of legal ownership of vehicle title to law
enforcement bodies, including the Beaufort County Sheriff's Department, Chief
Deputy Solicitor Isaac McDuffie Stone III, U.S. Federal Bureau of Investigation
and the State of South Carolina Department of Motor Vehicles, for fear of
malicious, retaliatory action, under color of law, by the State of Wisconsin DMV.

189. Plaintiff herein incorporates the aforementioned paragraphs and alleges that per,
the State of South Carolina State Statute 563-350, the South Carolina Department
of Motor Vehicle will not register and license or transfer registration if the

department has a reasonable ground to believe that the vehicle is stolen or the
registration and licensing or transfer is a fraud against the rightful owner of the
vehicle, and/or the application contains a false or fraudulent statement.

190. Plaintiff herein incorporates the aforementioned paragraphs and alleges that if,

as Plaintiff suspects, based on the totality of circumstances to date from October of
2002, through present time of January of 2008, Plaintiff was issued a fraudulent title
of ownership of vehicle in the State of Wisconsin on March 16, 2005, then legally
and lawfully, the State of South Carolina Department of Motor Vehicles could not
issue a valid title of ownership to Plaintiff, per State of South Carolina State Statute
563-350, thereby depriving Plaintiff of her lawful, legal right of ownership of title,
minus due process and equal protection of the laws, and in direct conflict with
Plaintiff's legal right of ownership.

191. Plaintiff herein incorporates all of the aforementioned paragraphs and attests that if
the City of Kenosha Police Department and the Kenosha County Sheriff's
Department had followed proper policy and procedure in October of 2002, and
thereafter relative to Plaintiff's verbal and written concerns pertinent to overt
predicate acts of civil and criminal harassment possibly attributable to members of
the Kenosha County administration, including Kenosha County Executive Allan
Kehl, and/or referred for investigation to the appropriate authoritative body, based
on Plaintiff's allegations of potential intrusive violations of personal privacy and
communication due to probable high stakes legal proceedings, any and all
subsequent retaliatory actions and/or causes of actions in this legal suit and any
other legal suits filed pertinent to this case on or after October 18, 2002, would not
have been committed against Plaintiff, and therefore, no further financial damage
and injury, including personal and bodily injury, due to the totality and severity of

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the overt predicate actions taken against Plaintiff on or before October of 2002,
through present time of January of 2008, in conspired deprivation of Plaintiff's U.S.
Constitutional protected rights, would not have been initiated, implemented and
taken against Plaintiff, and the causation of further harm and injury, of which
constitutes theft of liberty and property, under color of law, and the cause of
subsequent financial damage and injury to Plaintiff's person, property and business,
including personal and bodily injury, due to intentional infliction of emotional
distress based on the entirety of this situation, minus substantive and procedural due
process and equal protection of the laws.

192. Plaintiff herein incorporates the aforementioned paragraphs and alleges, that this
specific action, constitutes a violation of the Eighth Amendment, as it constitutes an
action, under color of law, to inflict criminal punishment onto Plaintiff, in conspired
deprivation of Plaintiff's First, Fourth, and Fourteenth Amendment rights, to
intentionally deprive Plaintiff of her legal property, minus procedural and
substantive due process and equal protection of the laws.

COUNT THIRTEEN

193. Plaintiff herein incorporates all of the aforementioned paragraphs and alleges,
based on the totality of circumstances to date, on or before October of 2002, through
present time of January of 2008, constituting an ongoing, continuity and pattern of
overt predicate retaliatory action with similar, intent, purpose and causation to inflict
irreparable damage and injury to Plaintiff, including bodily injury, under color of
law, in conspired deprivation of U.S. Constitutional protected rights, that
the aforementioned defendants, including those in paragraphs 2-16 & 22, and
possibly, Julie Boynton-Paskiewicz, 3233 S. 69" Street, Milwaukee, Wisconsin,
took overt predicate action and committed a criminal/federal offense against
Plaintiff by accessing, impersonating and adversely using Plaintiff's personal
identification information to interfere with Plaintiff's financial information and
interfere with, tamper with, and obstruct the receiving, sending and delivery of
Plaintiff's U.S. mail, on or before October of 2002, through present time of January
of 2008.

194, Plaintiff herein incorporates the aforementioned paragraphs and alleges that,
on or before October of 2002, through present time of January of 2008, that
Plaintiff has sustained at least six known, overt tangible, criminal/federal offenses of
identity theft, identity fraud, and/or tampering and obstruction of U.S. mail
committed against Plaintiff, involving adverse criminal interference with Plaintiffs
business and property, of which has inflicted further irreparable financial damage
and injury to Plaintiff, including loss of future employment opportunities and
substantial loss of future earning capacity, credit report, late fees, higher interest
rates, time and resources, and personal and bodily injury, directly attributable to the
intentional infliction of emotional distress of having been further victimized by a
criminal offense, in violation of state and federal laws, including state and federal
privacy laws, in conspired deprivation of Plaintiff's U.S. Constitutional protected

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rights of the First, Fourth, Fifth and Fourteenth Amendments, which include
procedural and substantive due process and equal protection of the laws prior to
deprivation of life, liberty and property, since Plaintiff initially reported her
allegations of actions of civil and criminal harassment directed against her to the
City of Kenosha Police Department and the Kenosha County Sheriff’s Department
in October of 2002, and thereafter for subsequent retaliatory actions.

195. Plaintiff herein incorporates all of the aforementioned paragraphs and alleges that
due to the extensive ties and close association to the aforementioned defendants to
law enforcement authorities and local, state and federal officials, that the City of
Kenosha Police Department and the Kenosha County Sheriff's Department, have
intentionally and deliberately failed and neglected to follow proper policy and
procedure since initial appraisal of unlawful harassment against Plaintiff, of which
to the best of Plaintiff's knowledge, originated on or before October of 2002, was
reported to both authoritative bodies in October of 2002, based on politics; therefore,
subsequent irreparable damage and harm, including infliction of bodily injury, is
directly attributable to both agencies failure to investigate, failure to refer to the
appropriate authoritative body for investigation, and failure to act once appraised of
a felony and/or felonies committed against a citizen of the community in retaliation
for being perceived as a political threat to the Kenosha County administration,
including Kenosha County Executive Allan K. Kehl, and/or any other citizen of the
community and/or the United States of America.

196.Plaintiff herein incorporates the aforementioned paragraphs and attests that Plaintiff
has sustained at least six known tangible counts of identity theft/identity fraud
and/or tampering and obstruction of U.S. mail pertinent to the following accounts,
including the last four digits of the accounts: (1) Citicard (Mastercard): 3418; (2)
Kohl’s Department Store: 8803; (3) Marshall Field’s: 4347; (4) JcPenney’s
Department Store: 6161; (5) Target: 6390; and (6) Sears: 9637, of which
constitute federal crimes, pursuant to Title 18 U.S.C Section 1028 (a) (7); Title 18
U.S.C, Section 1341; Title 18 U.S.C. Section 1343; Title 18 U.S.C. Section 1344
(2); Title 18 U.S.C. Section 1513 (b) (2) (e);_ Title 18 U.S.C. Section 1701; Title
18 U.S.C. Section 245 (a) (1) (b) (1) (B) (4) (A); Title 18 U.S.C. Section 241; and
Title 18 U.S.C. Section 242, in deprivation of, under color of law, Plaintiff's U.S.
Constitutional protected right, to substantive and procedural due process and equal
protection of the laws prior to deprivation of life, liberty and property, as afforded to
Plaintiff under the Fourteenth Amendment; violation of privacy in terms of access
and use of Plaintiff's personal identification information to falsely impersonate
Plaintiff to Plaintiff's contractual business affiliate, with intent to adversely interfere
in Plaintiff's business and property matters, with specific, malicious intent, purpose
and causation to defraud and inflict damage and injury, presumably working in
concert with state actors, under color of law, minus procedural and substantive due
process and equal protection of the laws; the right to petition the government for a
redress of grievances, as afforded under the First Amendment, when deprived of
life, liberty and property minus substantive and procedural due process and equal
protection of the laws.

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197. Plaintiff herein incorporates the aforementioned paragraphs and reiterates that
Plaintiff has been continuously denied her U.S. Constitutional right to the proper
administration of justice, as afforded to her under the First and Fourteenth
Amendment, via a lawful investigation to find the perpetrators, press charges,
prosecute and hold them criminally responsible and accountable for intentional
invasion of privacy, unauthorized assess and use of Plaintiff's personal
identification information, false impersonation, and adverse interference with a
federally protected activity of sending, receiving and delivery of U.S. mail, with
malicious intent to defraud and cause financial damage and injury to Plaintiff's
business and property, including personal and bodily injury, through aggravated
intentional infliction of emotional distress due to totality of circumstances, minus
due process and equal protection of the laws.

198. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff has contact dates, names and phone records pertinent to all of the known
aforementioned accounts in paragraph 196 adversely affected by this criminal
offense. Plaintiff alleges that Plaintiff received conflicting information from all
businesses relative to the adverse interference, including unauthorized
impersonation of Plaintiff with intent, purpose and causation to change, redirect
and/or reroute the delivery address of Plaintiff's U.S. mail, and U.S. mail returned
as undeliverable.

199. Plaintiff herein incorporates the aforementioned paragraphs and attests that Plaintiff
became cognizant of these criminal offenses taken against Plaintiff on or before
March of 2005, while Plaintiff was in Kenosha, Wisconsin, addressing and dealing
with potential fraud in association with a real estate contract of July 26, 2004, and a
Residential Offer to Purchase Property on December 22, 2005, and, while there, was
continuously exercising her First Amendment right to petition the government for a
redress of grievances specific to deprivation of life, liberty and property, including
the right to privacy against unreasonable searches and seizures, under false
pretenses, as afforded under the Fourth Amendment of the U.S. Constitution, minus
substantive and procedural due process and equal protection of the laws, as afforded
under the Fourteenth Amendment.

200. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff has reported said activity to the appropriate local, state and federal
authorities, in both the States of Wisconsin and South Carolina, and the District of
Columbia, on or before March of 2005, through present time of January of 2008,
pertinent to the interference of a federally protected activity, pursuant to Title 18
U.S.C. Section 245, of which per Title 18 U.S.C. Section 245 (a) (1) authorizes local
law enforcement officials to investigate tangible evidence of an act of willful
interference with a person’s federally protected activity, specific to this case, in the
sending, receiving and delivery of Plaintiff's U.S. mail of which caused, and
continues to cause, specific injury, in this case, continuous, ongoing, financial
injury, damage and hardship to Plaintiff.

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201. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff contacted the U.S. Postal Service to report the overt predicate acts of
intentional interference with Plaintiff's federally protected activity pertinent to the
sending, receiving and delivery of Plaintiff's U.S. mail. Plaintiff was instructed to
contact the U.S. Postal Service, 8511 — 104 Avenue, Pleasant Prairie,

Wisconsin, since Plaintiff had physically completed the temporary change of
address form at this location in July of 2004. Plaintiff engaged in numerous phone
conversations, on and between March 23, 2005, through April 28, 2005, with a
federal officer of the U.S. Postal Service, Bob O’Leary. Upon completion of Mr.
O’Leary’s investigation on April 28, 2005, Mr. O’ Leary stated to Plaintiff that only
U.S. mail addressed to Heather Hoffman was to be forwarded to Plaintiff at 19
Wood Duck Road, Hilton Head Island, South Carolina; therefore, any U.S. mail
addressed to Heather Paskiewicz and/or Heather Hoffman-Paskiewicz would not
have been forwarded to Plaintiff at location of 19 Wood Duck Road, Hilton Head
Island, South Carolina.

202. Plaintiff herein incorporates the aforementioned paragraphs and attests that Mr.

O’ Leary, in furtherance of scheme to defraud Plaintiff of the intangible right to
honest services, in conspired deprivation of Plaintiff's First, Fourth and Fourteenth
U.S. Constitutional protected rights, violated federal statute Title 18 U.S.C. Section
1001 (1) (2) by knowingly and willfully, with intent to conceal, cover up for and
device a material fact regarding the circumstances surrounding the criminal
interference with Plaintiff's U.S. mail, issued a false and fraudulent statement of fact
and/or reason for criminal violation. Plaintiff attests and can tangibly substantiate
that Plaintiff had received U.S. mail addressed to Heather Paskiewicz, Heather
Hoffman-Paskiewicz & Kevin C. Paskiewickz & Heather C. Paskiewickz at 19
Wood Duck Road, Hilton Head Island, South Carolina, on and between August of
2004, through then-present time of November and December of 2004.

203.Plaintiff herein incorporates all of the aforementioned paragraphs and attests that if
the City of Kenosha Police Department and the Kenosha County Sheriff's
Department had followed proper policy and procedure in October of 2002, and
thereafter relative to Plaintiff's verbal and written concerns pertinent to overt
predicate acts of civil and criminal harassment possibly attributable to members of
the Kenosha County administration, including Kenosha County Executive Allan
Kehl, and/or referred for investigation to the appropriate authoritative body, based
on Plaintiff's allegations of potential intrusive violations of personal privacy and
communication due to probable high stakes legal proceedings, any and all
subsequent retaliatory actions and/or causes of actions in this legal suit and any
other legal suits filed pertinent to this case on or after October 18, 2002, would not
have been committed against Plaintiff, and therefore, no further financial damage
and injury, including personal and bodily injury, due to the totality and severity of
the overt predicate actions taken against Plaintiff on or before October of 2002,
through present time of January of 2008, in conspired deprivation of Plaintiff's U.S.
Constitutional protected rights, would have been initiated, implemented and taken
against Plaintiff, and the causation of further harm and injury.

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204. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff has suffered severe personal and bodily injury due to the intentional
infliction of emotional distress associated with being a victim of a crime, with
continuous denial of the due course of justice and enforcement and protection of
state and federal laws, as provided under the Wisconsin State Constitution and the
United States Constitution.

205. Plaintiff herein incorporates the aforementioned paragraphs and alleges, that this
specific action, constitutes a violation of the Eighth Amendment, as it constitutes an
action, under color of law, to inflict criminal punishment onto Plaintiff, through
conspired deprivation of Plaintiff's First, Fourth, Fifth, Sixth and Fourteenth
Amendment rights, by willful blindness and tacit compliance to criminal activity
and federal offenses, of which includes interference with a federally protected right,
in violation of state and federal statutes, with intent to defraud and deprive Plaintiff
of the intangible right to honest services, through infliction of financial damage and
injury, including bodily injury, in conspired deprivation of Plaintiff's substantive
and procedural right to due process and equal protection of the laws prior to

deprivation of life, liberty and property, including the right to privacy, as afforded
to Plaintiff under the Fourth Amendment.

206. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict financial damage and injury, including bodily injury, to Plaintiff
involved the use of the wires to advance, conceal, perpetuate or further the
fraudulent scheme based on a material representation and/or misrepresentation, this
action constitutes a violation of Title 18 U.S.C. Section 1343.

207. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict financial damage and injury, including bodily injury, to Plaintiff
involved the use of the U.S. mail to plan, implement, advance, conceal and/or
execute in furtherance of fraudulent scheme, this action constitutes a violation of
Title 18 U.S.C. Section 1341.

208. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action in furtherance of fraudulent scheme and/or objective
involved the use and/or financial transaction of a federally insured financial
institution, this action constitutes a violation of Title 18 U.S.C. Section 1344 (2),

COUNT FOURTEEN

209. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Family Court Commissioner James Fitzgerald, acting outside of his official
capacity as a judicial officer of the court, used his family courtroom and
official proceeding on May 5, 2005, in furtherance of fraudulent scheme to
inflict financial damage and injury to Plaintiff, fully cognizant of the fact that

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the issue before his court involved the overt predicate commission of a
criminal/federal offense of adverse interference with Plaintiff's U.S. mail,
(American TV & Appliances — acct #6587), in violation of state and

federal laws, and in conspired deprivation of Plaintiff's First, Fourth, Eighth and
Fourteenth U.S. Constitutional protected rights.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Family Court Commissioner James Fitzgerald violated Wisconsin State Statute
757.22 on May 5, 2005, acting in furtherance of fraudulent scheme to defraud
Plaintiff of her financial resources and property to further inflict retaliatory

damage and injury to Plaintiff, including bodily injury, due to intentional infliction
of emotional distress, in conspired deprivation of U.S. Constitutional protected
rights of the First, Fourth and Fourteenth Amendments, through prejudicial abuse
and misuse of judicial authority and family court room proceeding by providing
legal counsel, advice and answering for Kevin Paskiewicz in a legal matter before
his courtroom on May 5, 2005, as reflected in court transcripts of May 5, 2005,
(page 13, lines 20, 23, 25 & page 14, lines 1-4) thereby, inflicting further financial
injury of $1,418.59.

Plaintiff herein incorporates the aforementioned paragraphs and attests that
Family Court Commissioner Fitzgerald, in violation of Wisconsin State
Statute 757.22 declared how he might potentially rule on an issue not yet
before his court, but, at the time, it was assumed would come before his

court room at a later date, without all the pertinent facts before him on May 5,
2005, as reflected in court transcripts of May 5, 2005 (pages 15 &16).

Plaintiff herein incorporates the aforementioned paragraphs and alleges that

since this overt predicate action taken in furtherance of fraudulent scheme

and/or objective to inflict financial damage and injury, including bodily injury, to
Plaintiff involved the use of the wires to advance, conceal, perpetuate or further the
fraudulent scheme based on a material representation and/or misrepresentation, this
action constitutes a violation of Title 18 U.S.C. Section 1343.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that
since this overt predicate action taken in furtherance of fraudulent scheme

and/or objective to inflict financial damage and injury, including bodily injury, to
Plaintiff involved the use of the U.S. mail to plan, implement, advance, conceal
and/or execute in furtherance of fraudulent scheme, this action constitutes a
violation of Title 18 U.S.C. Section 1341.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that
since this overt predicate action in furtherance of fraudulent scheme and/or
objective involved the use and/or financial transaction of a federally insured
financial institution, this action constitutes a violation of Title 18 U.S.C. Section
1344 (2).

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215. Plaintiff herein incorporates the aforementioned paragraphs and alleges, that
this specific action, constitutes a violation of the Eighth Amendment, as it
constitutes an action, under color of law, to inflict criminal punishment onto
Plaintiff, through conspired deprivation of Plaintiffs First, Fourth, Fifth, Sixth
and Fourteenth Amendment rights, by willful blindness and tacit compliance to
criminal activity constituting federal offenses, including interference with a
federally protected activity (Title 18 U.S.C, Section 245) in violation of state
and federal statutes, with intent to defraud and deprive Plaintiff of the
intangible right to honest services, through infliction of financial damage and
injury, including bodily injury, in conspired deprivation of Plaintiff's
substantive and procedural right to due process and equal protection of the laws
prior to deprivation of life, liberty and property.

216. Plaintiff herein incorporates all of the aforementioned paragraphs and attests
that if the City of Kenosha Police Department and the Kenosha County Sheriff's
Department had followed proper policy and procedure in October of 2002, and
thereafter, relative to Plaintiff's verbal and written concerns pertinent to overt
predicate acts of civil and criminal harassment possibly attributable to members
of the Kenosha County administration, including Kenosha County Executive
Allan Kehl, and/or referred for investigation to the appropriate authoritative
body, based on Plaintiff's allegations of potential intrusive violations of
personal privacy and communication due to probable high stakes legal
proceedings, any and all subsequent retaliatory actions and/or causes of actions
in this legal suit and any other legal suits filed pertinent to this case on or after
October 18, 2002, would not have been committed against Plaintiff, and
therefore, no further financial damage and injury, including personal and bodily
injury, due to the totality and severity of the overt predicate actions taken
against Plaintiff on or before October of 2002, through present time of January
of 2008, in conspired deprivation of Plaintiff's U.S. Constitutional protected
rights, would have been planned, initiated, implemented and executed against
Plaintiff, and the causation of further and subsequent harm and injury.

COUNT FIFTEEN

217. Plaintiff herein incorporates all of the aforementioned paragraphs and alleges,
due to the totality of circumstances to date, on or before October of 2002,
through present time of January of 2008, constituting an ongoing, continued
pattern of overt predicate action to inflict financial damage and injury to
plaintiff, including bodily injury, due to intentional infliction of emotional
distress, under color of law, in conspired deprivation of U.S. Constitutional
protected rights, that further criminal action was initiated and taken in
furtherance of fraudulent scheme of association in fact, across state lines, on or
before January of 2005, through then-present time of July of 2005, to
financially defraud Plaintiff of her business and property through adverse
interference with Plaintiff's business and contractual relations concerning
relocation of moving/transportation of merchandise, home

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furnishings and personal belongings via Otto Nelson & Sons/Agents for United
Van Lines, 6203 — 28" Avenue, Kenosha, Wisconsin, to Plantation Self
Storage, 1110 Fording Island Road, Bluffton, South Carolina.

218. Plaintiff herein incorporates the aforementioned paragraphs and alleges, due to
the totality of circumstances to date, from October of 2002, through present
time of January of 2008, constituting ongoing, continuity and similarity of
pattern, involving two or more overt predicate acts, across state lines, that

this specific action and/or conduct was taken with intent, purpose and causation
to knowingly and willingly cause financial and tangible property damage to
Plaintiff's property, pursuant to Title 18 U.S.C. Section 1513 (b) (2) (e), through
fraudulent deceit and intentional misrepresentation of facts.

219. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Roger Gename, Otto Nelson & Sons/Agents for United Van Lines, conducted
a walk through and took inventory of Plaintiffs home furnishings and
belongings of then property at 4705-67" Place, Kenosha, Wisconsin, in January
of 2005. Plaintiff was given an estimate of $6,509.26 for an approximate
shipping weight of 10,563.

220. Plaintiff herein incorporates the aforementioned paragraphs and alleges
that Plaintiff contacted this mover, more specifically, Erica Beiser,
Relocation Coordinator, Otto Nelson & Sons/Agent for United Van Lines,
Kenosha, Wisconsin, on June 30, 2005, via interstate telephone call from
Hilton Head Island, South Carolina, to Kenosha, Wisconsin, and hired
their services for interstate hauling/moving of Plaintiff's home
furnishings from then-property at 4705 — 67" Place, Kenosha, Wisconsin,
to Plantation Self Storage, 1110 Fording Island Road, Bluffton, South
Carolina. Ms. Beiser was the point of contact for entire move. Plaintiff
informed Erica Beiser that all furnishings were going into a storage unit.
Plaintiff was informed by Ms. Beiser, based on total estimated weight of
furnishings at 10,563, that Plaintiff should reserve and/or rent a storage

unit space of 10 X 20.

221. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff reserved and paid for a 10 X 25 storage unit at Plantation Self Storage,
1110 Fording Island Road, Bluffton, South Carolina, on July 12, 2005.

222. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
Plaintiff's furnishings were delivered via Chris Hartl, U.S. Department of
Transportation #077949 on July 21, 2005, to Plantation Self Storage. Total
weight was 8920. Storage unit space of 10 X 25 was grossly insufficient for
furnishings; therefore, Plaintiff's property received irreparable damage.

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223. Plaintiff herein incorporates the aforementioned paragraphs and alleges,
that Otto Nelson & Sons conspired and/or co-conspired to inflict damage to
Plaintiff’ s property through fraudulent information and/or intentional malicious
misrepresentation of facts, of which a relocation coordinator would have known
to inflict tangible damage to property. Rental unit space was grossly
insufficient for merchandise; however, Plaintiff did not have the time or the
resources to call around and/or inquire about alternative storage once movers
arrived with merchandise on July 21, 2005. As a direct causation of this act,
Plaintiffs merchandise and/or home furnishings received significant damage.

224. Plaintiff herein incorporates the aforementioned paragraphs and attests
that this specific action, the aforementioned causes of action, and the subsequent
causes of action, inclusive of this legal suit, would not have been further
initiated, implemented and/or executed in furtherance of retaliatory scheme
against Plaintiff, if not for the failure and neglect and willful blindness of the
City of Kenosha Police Department and the Kenosha County Sheriff's
Department to take action to take a report, investigate and/or refer for
investigation to the appropriate authoritative body in October of 2002, and
thereafter, any and all of Plaintiffs allegations specific to these acts. The
totality and entirety of the deliberate neglect to keep Plaintiff and her family
from future harms, constitutes a deprivation of life, liberty and property minus
due process and equal protection of the laws, under color of state law.

225. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Plaintiff received damage to her personal, tangible property of at least $100,000
of replacement cost of furnishings, including damage of irreplaceable family
heirlooms.

226. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff, including bodily injury,
involved the use of the wires to advance, conceal, perpetuate or further the
fraudulent scheme based on a material representation and/or misrepresentation,
this action constitutes a violation of Title 18 U.S.C. Section 1343.

227.Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the U.S. mail
to plan, implement, advance, conceal and/or execute in furtherance of fraudulent
scheme, this action constitutes a violation of Title 18 U.S.C. Section 1341.

228.Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action in furtherance of fraudulent scheme and/or objective
involved the use and/or financial transaction of a federally insured financial
institution, this action constitutes a violation of Title 18 U.S.C. Section 1344 (2).

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COUNT SIXTEEN

229, Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on

the totality of circumstances to date, on or before October of 2002, through present
time of January of 2008, that adverse action has been taken, under false pretenses
and/or misconstrued or contrived misinformation, under color of state law, by local
and state agencies of which receive federal funding, and by judicial and public
officers of the court, to intentionally and adversely interfere with primary custodial
parent’s, Plaintiff's, Heather C. Hoffman, U.S. Constitutional fundamental,
protected right to provide for the care and management of her children, as afforded
to Plaintiff under the First and Fourteenth Amendments.

230. Plaintiff herein incorporates the aforementioned paragraphs and affirms that

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Plaintiff filed a Custodial Parent’s Application for Child Support Services with
the South Carolina Department of Social Services, Child Support Enforcement
Division, Columbia, South Carolina, on October 5, 2005, to enforce non-custodial
parent’s responsibilities and obligations to his then-two minor children, pursuant
to court orders of January 23, 2004, and June 24, 2004, and state and federal laws.
At the time of Plaintiff's filing, non-custodial parent was in contempt of court for
failure to follow and adhere to court specified orders.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff was told by the State of South Carolina Department of Social Services,
Child Support Enforcement Division, hereby referred to as “CSED” that it would
take ninety days to process the application.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff contacted CSED on January 3, 2006, pertinent to the filing of Plaintiff's
application on October 5, 2005. Plaintiff was given a case number of 0664529 and
advised that Pharmala Freeman, Child Support Enforcement Specialist, Child
Support Enforcement Division, Charleston Region III, Post Office Box 150012,
Charleston, South Carolina, had been assigned to her case.

233. Plaintiff herein incorporates the aforementioned paragraphs and alleges that

Plaintiff left numerous voice mail messages for Ms. Freeman on and between
January 4-19, 2006, and on Plaintiff's last message to Ms. Freeman, on and
between January 4-19, 2006, conveyed to Ms. Freeman that Plaintiff wanted

to schedule a meeting with her on January 25, 2006, to provide any and all
subsequent documentation necessary to enforce non-custodial parent’s, Kevin
Paskiewicz’s, parental responsibilities and obligations, especially pertinent to
Mr. Paskiewicz’s employment status, and, if employed, availability of health
insurance coverage through his employer, and reimbursement for uninsured
medical expenditures from February 19, 2004, through then-present time of
January of 2005. Plaintiff resides in Hilton Head Island, South Carolina, and had

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an official appointment scheduled on January 25, 2006, in Charleston, South
Carolina, with State Farm Insurance specific to vandalism on Plaintiff's 1997
Mercedes-Benz E-320.

234. Plaintiff herein incorporates the aforementioned paragraphs and attests that
Ms. Freeman returned Plaintiff's call on January 20, 2006, and told Plaintiff that
she was unavailable to meet with Plaintiff on January 25, 2006, because she
was scheduled to be in court. Plaintiff offered to reschedule her appointment with
State Farm Insurance to accommodate Ms. Freeman’s schedule. Plaintiff was
advised by Ms. Freeman that it is not proper policy and procedure for case workers
to schedule appointments with clients. Plaintiff was told CSED operates on an °
informal, walk- in, first come, first served basis. Plaintiff was told that the
modification orders had been sent to the Kenosha County Child Support
Enforcement Agency and Kenosha Family Court, Kenosha, Wisconsin, and no
further information was needed from Plaintiff. Plaintiff requested that a copy
of the modification orders be sent to her. In response to Plaintiff's request, Ms.
Freeman told Plaintiff that she was unable to provide a copy of the orders to
Plaintiff.

235. Plaintiff herein incorporates the aforementioned paragraphs and affirms that
on January 25, 2006, Plaintiff went to CSED in North Charleston, South Carolina.
Plaintiff was told that her file was complete, modification orders and paperwork had
been sent to Kenosha County Child Support Enforcement Agency and no further
information was needed from Plaintiff for enforcement of rights. Plaintiff, again,
was refused a copy of the orders sent to Kenosha, Wisconsin. Plaintiff herein
incorporates the aforementioned paragraphs and alleges that she disclosed to CSED
on January 25, 2006, and in prior conversation to Ms. Freeman on January 20,
2006, Plaintiff's concerns specific to possible and/or probable intentional retaliatory
and discriminatory practices by Kenosha County, under color of law, specific to this
matter since Plaintiff had encountered adverse action and interference by Kenosha
County, attributable to and inclusive of the aforementioned paragraphs of 1-235, of
this legal document, of which had included a continued pattern of adverse,
retaliatory action and abuse of authoritative power by Kenosha County agencies, the
judiciary, public officers of the Kenosha Circuit Court and the Kenosha Family
Court, more specifically, Family Court Commissioner James Fitzgerald, with issues
concerning Plaintiff's then two minor children.

236. Plaintiff herein incorporates the aforementioned paragraphs and alleges that on and
between the time of January of 25, 2006, through then-present time of March 27,
2006, Plaintiff left numerous messages for Ms. Freeman for case update and status
inquiry, including Mr. Paskiewicz’s status of employment, and, if employed, the
status of the Medical Support Order Notification sent to his employer.

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Plaintiff herein incorporates the aforementioned paragraphs and alleges that

on March 27, 2006, Phalarma Freeman notified Plaintiff, via a telephone call, that a
new caseworker, Sorona Jenkins, had been assigned to Plaintiff's case. Ms.
Freeman stated, to date, no response had been received from Kenosha County
relative to orders sent in January of 2006.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that

Sorona Jenkins returned Plaintiff's call on April 4, 2006. Ms. Jenkins stated

to Plaintiff that she had not yet reviewed Plaintiff's case file, no contact had been
initiated or made with Kenosha County, Wisconsin, and Ms. Jenkins did not see the
need to meet with Plaintiff for further information. Per Ms. Jenkins, no additional
information was needed from Plaintiff to enforce orders.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that
following Plaintiff's telephone conversation on April 4, 2006, with Ms.

Jenkins, Plaintiff suspected intentional misinformation and fraudulent deceit to
impede, hinder, obstruct and defeat Plaintiff's First and Fourteenth Amendment
rights to provide for the care and management of her children, from CSED, more
specifically, both Ms. Freeman and Ms. Jenkins, based on the fact that CSED

did not have all the information necessary to move forward with enforcement of
Kevin Paskiewicz’s parental responsibilities and obligations since it had not
been requested of Plaintiff, nor had Plaintiff provided to CSED, any comprehensive
or conclusive information pertinent to monetary figures encompassing 50% share
of monthly uninsured health insurance costs from June of 2004, through then
present time of April of 2006, and/or 50% of the cost of uninsured medical
expenditures from February of 2004, through then-present time of April of

2006.

240. Plaintiff herein incorporates the aforementioned paragraphs, and alleges, that

through numerous phone conversations on and between January of 2006,

through April of 2006, with Ms. Freeman and Ms. Jenkins, Plaintiff suspected

that Ms. Freeman and Ms. Jenkins, were deliberately using their administrative
power, under color of law, to adversely interfere with Plaintiffs fundamental
protected right to provide for the care and management of her two children, as
afforded to her under the First and Fourteenth Amendments, of holding Kevin
Paskiewicz lawfully, legally and financially responsible for his parental
responsibilities and obligations through deliberate stall tactics, miscommunication,
misinformation, false representation and misrepresentation of stated facts, of which
resulted in further financial damage and injury to Plaintiff, including Plaintiffs
own filing of cause of action on April 25, 2006, to expedite the process, and
subsequent travel expenses to Kenosha, Wisconsin, for hearing of June 14, 2006, to
enforce non-custodial parent’s responsibilities and obligations in a family court of
law, including significant contempt of court issues.

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Plaintiff herein incorporates the aforementioned paragraphs and alleges that,
based on the totality of circumstances to date from October of 2002, through
present time of January of 2008, that both CSED, representative of Ms.

Freeman and Ms. Jenkins, were working in concert with the Kenosha County
Child Support Enforcement Agency and the Kenosha Family Court, to adversely
affect Plaintiff's lawfully and legally holding Mr. Paskiewicz responsible for

his parental obligations through stall tactics and misinformation and intentional
miscommunication and omissions of pertinent facts relevant to the handling and
enforcement of modification orders from CSED.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff contacted and left a message on Darlene Sandberg’s voice mail, Supervisor,
Child Support Enforcement Agency, Kenosha, Wisconsin, on April 10, 2006,
following Plaintiff's conversation on April 10, 2006, with Sorona Jenkins. Ms.
Jenkins had stated to Plaintiff that Kenosha County was deliberately stalling in the
handling of the modification orders from CSED.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that on
April 11, 2006, Carol Brooks, caseworker, Child Support Enforcement Agency,
Kenosha, Wisconsin, contacted Plaintiff via telephone and conveyed that Plaintiff
needed to take Kevin Paskiewicz back to family court on issues, more specifically,
contempt of court issues, including health insurance and reimbursement of 50% of
uninsured accrued medical expenditures from February of 2004, through then
present time of April of 2006.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that on
April 11, 2006, Plaintiff contacted the Kenosha County Courthouse, Kenosha,
Wisconsin, for inquiry specific to proper policy and procedure of request that a
judge preside over Plaintiff's hearing rather than Family Court Commissioner James
Fitzgerald.

Plaintiff herein incorporates the aforementioned paragraphs and alleges that Plaintiff
sent a letter of request for assignment of judge to preside over the post-judgement
hearing regarding Case No. 03FA834 to the Honorable Chief Justice Mary Wagner,
Kenosha Circuit Court Branch Six on April 20, 2006.

Plaintiff herein incorporates the aforementioned paragraphs and attests that based
on the misinformation and miscommunication being provided to Plaintiff by both
the South Carolina Department of Child Support Enforcement and the Kenosha
County Child Support Enforcement Agency, that Plaintiff decided it was in the best
interest of Plaintiff's children to circumvent both agencies and take Kevin
Paskiewicz back to Kenosha Family Court.

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247. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Plaintiff
sent her Order to Show Cause dated April 25, 2006, via certified mail to the
Kenosha County Clerk of Court’s Office, Kenosha County Courthouse, 912 — 56"
Street, Kenosha, Wisconsin, on April 25, 2006. Certified mail was received, signed
and dated by the Kenosha County Clerk of Court’s Office on April 28, 2006.
Pursuant to Wisconsin State Statute CR 05-11, Plaintiff had included a copy of the

letter sent to the Honorable Chief Justice Mary Wagner, Kenosha Circuit Court
Branch Six, on April 20, 2006, requesting that a judge be assigned to preside over
the post-judgment hearing regarding Case No. 03FA834.

248. Plaintiff herein incorporates the aforementioned paragraphs and alleges that on
May 8, 2006, Plaintiff received her legal notification of Order To Show Cause from
the State of Wisconsin, Circuit Court Family Branch, Kenosha County, Wisconsin,
in the U.S. mail. The date of hearing was set for June 14, 2006; however, the time
of the hearing was omitted from the legal document.

249, Plaintiff herein incorporates the aforementioned paragraphs and alleges that on
May 8, 2006, Plaintiff contacted and spoke with Sue Imhoff, Clerk for Chief Justice
Mary Wagner, to determine the time of hearing and request a revised copy of the
legal document be mailed and/or faxed to Plaintiff with time inclusion.

250. Plaintiff herein incorporates the aforementioned paragraphs and alleges that Sue
Imhoff refused to mail and/or fax to Plaintiff a new and/or revised Order to Show
Cause with the time of hearing included. Ms. Imhoff stated that the hearing of June
14, 2006, had been cancelled due to Respondent, Kevin Paskiewicz, signing an
agreement outside of court. Plaintiff was unaware of any such agreement and/or
any of the terms and/or specifications that would have been agreed upon by

Respondent since he did not possess the information in which to base an agreement
on. Plaintiff requested Ms. Imhoff fax to her a copy of said agreement.

251. Plaintiff herein incorporates the aforementioned paragraphs and alleges that on
May 9, 2006, Plaintiff sent via e-mail, a request of time of hearing of June 14,
2006, to Kenosha County Clerk of Court Gail Gentz. Ms. Gentz, an elected
public official, provided an unacceptable, unprofessional response to Plaintiff's
request. Per Ms. Gentz, “the time of the hearing is 10:30 a.m., if you can’t read
it, then write it in yourself.”

252. Plaintiff herein incorporates the aforementioned paragraphs and alleges that, again,
on May 9, 2006, Ms. Imhoff refused to fax a revised copy of the legal document of
Order to Show Cause with time of hearing of June 14, 2006 included; however, she
faxed to Plaintiff a copy of the legal document from the State of Wisconsin
dismissing the Order to Show Cause filed April 11, 2006, without prejudice due to
respondent signing an agreement outside of court. The order was signed and dated
by Family Court Commissioner James Fitzgerald on May 4, 2006. There were no
specifications and/or terms specific to this agreement and document filed 04/1 1/06;
therefore, there was no meeting of the minds between both parties, and it bore

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absolutely no legal relevance on the cancellation of my Cause of Action filed
May 1, 2006, and scheduled for June 14, 2006, with time omitted.

253. Plaintiff herein incorporates the aforementioned paragraphs, and alleges, that in

order for an agreement to be reached, there needs to be a meeting of the minds
between both parties. Since Mr. Paskiewicz did not possess all the critical
information, including total itemization of health and uninsured medical costs, he
had no information in which to base an agreement on. And, if Mr. Paskiewicz
had blindly agreed to all Plaintiff's legal requests, there would have been no
rebuttal in family court on June 14, 2006, pertinent to these issues from Mr.
Paskiewicz.

254. Plaintiff herein incorporates the aforementioned paragraphs, and alleges, based
on the totality of circumstances to date, that judicial officers of the court, and
those entrusted with enforcement of court obligated responsibilities of non-
custodial parents, used county agencies of which receive federal funding from
the federal government, and a judicial branch of government, across state lines, to
deprive Plaintiff of her fundamentally protected right to provide for the care and
management of her then-two minor children, by attempting to impede, hinder and
obstruct her U.S. Constitutional fundamental protected right to access the family
court system for enforcement of non-custodial parental obligations, especially
when non-custodial parent is in contempt of court for failure to provide for his
children.

255. Plaintiff herein incorporates the aforementioned paragraphs and alleges that if
there was a lawful, legal basis, under color of law, for officers of the court to
take overt predicate action with intent and purpose to impede, hinder and
obstruct Plaintiff's legal rights, this action was taken, under false pretenses,
in deprivation of Plaintiff's First and Fourteenth Amendment rights, as afforded
to Plaintiff under the U.S. Constitution, prior to deprivation of life, liberty and

property.

256. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
through numerous phone conversations with Sue Imhoff and the Kenosha Family
Court, on and between May 8 — 10, 2006, Plaintiff received conflicting
information as to whether or not there was a hearing scheduled for June 14, 2006,
in Judge Mary Wagner’s Courtroom between Plaintiff and Respondent, since
Plaintiff did net have a factual, legal document in her possession.

257. Plaintiff herein incorporates the aforementioned paragraphs, and attests, that based
on the content of her conversations with Sue Imhoff and officers of the court, on and
between May 8 — 10, 2006, that judicial officers, in deprivation of Plaintiff's U.S.
Constitutional protected First and Fourteenth Amendment rights, were attempting to
block her access to the family court, including deliberate, intentional failure to
provide Plaintiff with a lawful, legal binding document relative to time of court
hearing of June 14, 2006, through fraudulent misrepresentation of facts.

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258. Plaintiff herein incorporates the aforementioned paragraphs, and alleges, that to
ensure that Plaintiff had a time of hearing scheduled in Judge Mary Wagner’s
Courtroom on June 14, 2006, prior to proceeding with travel arrangements to
Wisconsin, Plaintiff faxed a copy of the Order to Show Cause to her friend, Michelle
Anderson, in Kenosha, Wisconsin, on May 9, 2006, to take to the Kenosha County
Courthouse for time inclusion on legal document. Without a time of hearing
documented on Order to Show Cause relative to File No. #03F A834, in relation to
hearing of June 14, 2006, in Judge Mary Wagner’s Courtroom, Plaintiff did not
possess a lawful, legal binding document.

259. Plaintiff herein incorporates the aforementioned paragraphs and alleges that on
May 10, 2006, Michelle Anderson faxed to Plaintiff a revised copy of the Order to
Show Cause with time inclusion of 10:30 a.m. on June 14, 2006.

260. Plaintiff herein incorporates the aforementioned paragraphs, and attests, that in
front of two witnesses, Kevin Paskiewicz verbally attacked Plaintiff in the Kenosha
County Courthouse prior to court hearing of June 14, 2006, based on a phone
conversation he had with Carol Brooks, Child Support Enforcement Agency,
Kenosha, Wisconsin, relative to both the State of South Carolina and the State of
Wisconsin, being “fed” up with Plaintiff for circumventing both states and taking
Mr. Paskiewicz back to family court. Acting under color of state law, Ms. Brooks
deliberately misused and abused her authoritative power through intentional
falsification of information and facts to slander Plaintiff to Mr. Paskiewicz with
malicious intent and purpose to incite, provoke and create an altercation between
Plaintiff and Mr. Paskiewicz.

261. Plaintiff herein incorporates the aforementioned paragraphs and attests that
administrators of Kenosha County government, having worked with Plaintiff
for five and a half years, were fully cognizant of Mr. Paskiewicz’s violent outbursts
and aggressive behavior based on Plaintiff's conversations with Kenosha
County Executive Allan Kehl and co-workers. Furthermore, it was the “talk” of
the Kenosha County Administration Building in October of 2002, when Mr.
Paskiewicz inflicted substantial exterior damage to Plaintiff’ s new vehicle in a
violent outburst.

262. Plaintiff herein incorporates the aforementioned paragraphs, and attests, that
Plaintiff has in her possession written correspondence from Mr. Paskiewicz
attesting to the fact that he was contacted by the Kenosha County Child Support
Enforcement Agency on June 15, 2006, to apologize for the results and findings of
the hearing of June 14, 2006, and to once, again, under color of law, slander
Plaintiff by alleging that Plaintiff contacted the Kenosha County Courthouse on
June 15, 2006, to dispute the court ordered amount. This is a false and fraudulent
statement by an employee acting under color of law. This malicious lie, by a state
actor, constitutes a higher degree of slander since this employee is using her
administrative position to inflict damage and injury to Plaintiff and her children.

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263. Plaintiff herein incorporates the aforementioned paragraphs, and alleges, based on
the totality of circumstances to date, that both the State of South Carolina
Department of Social Services, Child Support Enforcement Division, North
Charleston, South Carolina, and the State of Wisconsin, Child Support Enforcement
Agency, Kenosha, Wisconsin, through an abuse of power, under color of law, used
their authoritative positions, to adversely affect Plaintiff's right to hold non-
custodial parent lawfully and legally responsible for his court ordered obligations to
his children, and, with malicious intent, knowingly and willfully aided and abetted a
felon, in violation of 18 U.S.C, Section 228 (a) (1) (3).

264. Plaintiff herein incorporates the aforementioned paragraphs, and attests, that
Plaintiff, through written correspondence dated August 10, 2006, appraised the
following parties of her complaint in reference to the handling of and retaliatory,
adverse action taken by the above referenced parties, in conspired deprivation of
U.S. Constitutional rights, under color of law, with specific intent to hinder, impede
and obstruct the due course of the administration of justice through adverse
interference with Plaintiff's fundamental, federally protected right to provide for the
care and management of her then two minor children: The Honorable Chief Justice
Mary Wagner, Kenosha Circuit Court Branch 6, Kenosha, Wisconsin; Joyce A.
Thomas, Regional Administrator of Region 5, Administration for Children and
Families, Chicago Regional Office, Chicago, Illinois; Carlis V. Williams, Regional
Administrator of Region 4, Administration for Children and Families, Atlanta
Regional Office, Atlanta, Georgia; Michael Leavitt, Secretary, U.S. Department of
Health and Human Services; Phalarma L. Freeman, Child Support Specialist,
CSEA, North Charleston, South Carolina; Sorona Jenkins, Child Support Specialist,
CSEA, North Charleston, South Carolina; Carol Brooks, Caseworker, CSEA,
Kenosha, Wisconsin; and Darlene Sandberg, Caseworker, CSEA, Kenosha,
Wisconsin.

265. Plaintiff herein incorporates the aforementioned paragraphs, and alleges, that
Plaintiff and her two children have sustained irreparable damage and injury,
including personal and bodily injury, directly attributable to this specific cause of
action, under color of law, under conspired deprivation of U.S. Constitutional
rights, by abuse of authoritative power and fraudulent deceit in association with
county agencies, of which receive federal funding, of engaging in adverse action to
intentionally and maliciously interfere with Plaintiff's fundamental, protected
activity, pursuant to 18 U.S.C. Section 245 (2) (1) (E) (2) (B) (4) (A), to provide for
the care and management of her two children, in deprivation of the First and
Fourteenth Amendments. Plaintiff has ongoing lawful, legal issues with Kevin
Paskiewicz of which Plaintiff will continuously need to go back to family court.
Plaintiff has absolutely no trust and/or confidence in either agency, since both
intentionally and maliciously lied to and provided false and misleading information
to and about Plaintiff to further a retaliatory vendetta of which adversely and
detrimentally affected two innocent children’s lives.

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266. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the wires to
advance, conceal, perpetuate or further the fraudulent scheme based on a material
representation and/or misrepresentation, this action constitutes a violation of Title 18
U.S.C. Section 1343.

267, Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action taken in furtherance of fraudulent scheme and/or
objective to inflict damage and injury to Plaintiff involved the use of the U.S. mail to
plan, implement, advance, conceal and/or execute in furtherance of fraudulent
scheme, this action constitutes a violation of Title 18 U.S.C. Section 1341.

268. Plaintiff herein incorporates the aforementioned paragraphs and alleges that since
this overt predicate action in furtherance of fraudulent scheme and/or objective
involved the use and/or financial transaction of a federally insured financial
institution, this action constitutes a violation of Title 18 U.S.C. Section 1344 (2).

269. Plaintiff herein incorporates all of the aforementioned paragraphs and attests that
if the City of Kenosha Police Department and the Kenosha County Sheriff's
Department had followed proper policy and procedure in October of 2002, and
thereafter, relative to Plaintiff's verbal and written concerns pertinent to overt
predicate acts of civil and criminal harassment possibly attributable to members of
the Kenosha County administration, including Kenosha County Executive Allan
Kehl, and/or referred for investigation to the appropriate authoritative body, based
on Plaintiff's allegations of potential intrusive violations of personal privacy and
communication due to probable high stakes legal proceedings, any and all
subsequent retaliatory actions and/or causes of actions in this legal suit and any
other legal suits filed pertinent to this case on or after October 18, 2002, would not
have been committed against Plaintiff, and therefore, no further financial damage
and injury, including personal and bodily injury, due to the totality and severity of
the overt predicate actions taken against Plaintiff on or before October of 2002,
through present time of January of 2008, in conspired deprivation of Plaintiffs
U.S. Constitutional protected rights, would have been initiated, implemented and
taken against Plaintiff, and the causation of further harm and injury.

270. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based on
the totality of circumstances to date on or before October of 2002, through present
time of January of 2008, that aforementioned defendants in paragraphs 2-16 & 22,
including Julie Boynton Paskiewicz, Plaintiff's ex-husband’s wife, working in
concert and in association with one or more of the aforementioned defendants
in furtherance of retaliatory scheme, under color of law, in conspired deprivation of
U.S. Constitutional protected rights, were significant contributing factors to
the harassment in this specific action, and possibly inclusive of all the
aforementioned and subsequent causes of action encompassed in this federal lawsuit
and any and all future federal lawsuits filed pertinent to and in association to this

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matter; however, Plaintiff has been continuously denied her right to procedural due
process and equal protection, including a lawful, legal investigation by those
entrusted with the authority, power and resources to investigate said activity,
including issuance of subpoenas and legal records, etc.

COUNT SEVENTEEN

271. Plaintiff herein incorporates the aforementioned paragraphs and alleges, based
on the totality of circumstances to date, on or before October of 2002, through
present time of January of 2008, with similar intent, purpose and causation of
damage and injury to Plaintiff, that the aforementioned defendants, including “John
Doe Defendants” took adverse, retaliatory employment action against Plaintiff
through adverse interference with subsequent employment opportunities, across
state lines, inclusive of the entirety and totality of this federal lawsuit and the federal
lawsuit to be filed in the U.S. District Court of Charleston, South Carolina, to do
irreparable damage and injury to Plaintiff's employment record, future employment
opportunities, earning capacity, family matters, credit report, finances and
intellectual competence and stability due to high stakes legalities involved.

272. Plaintiff herein incorporates the aforementioned paragraphs and alleges that
Plaintiff has sustained three subsequent adverse employment actions directly
attributable to Plaintiff's former employer, Kenosha County Government,

Kenosha, Wisconsin, including: Christ Lutheran Church (September 20, 2004 -
November 9, 2004), 829 William Hilton Parkway, Hilton Head Island, South
Carolina; Belk Department Store #0534 (October 19, 2005 — November 5, 2005),
24 Shelter Cove Lane, Hilton Head Island, South Carolina; and A Shore Thing
(March of 2007 — April 19, 2007), 32 Shelter Cove Lane, Hilton Head Island, South
Carolina.

273. Asa causation of the entirety of this cause of action, Plaintiff has sustained
permanent damage and injury to Plaintiff's character, work record, employment
history, future earning capacity, stability, etc. Plaintiff is a college graduate, and up
until the initial adverse employment action, planned, initiated, implemented and
executed on September 20, 2004, and subsequent employment actions thereafter
through April 19, 2007, had an impeccable, unblemished employment history of
excellent and/or good standing with twelve or more previous employers.

COUNT EIGHTEEN

274. Plaintiff herein incorporates the aforementioned paragraphs and alleges that the
totality and entirety of the information contained in this federal lawsuit, inclusive
of any and all future and/or subsequent lawsuits filed in this matter, constitutes a
violation of Plaintiff's Eighth Amendment right, as afforded under the United States
Constitution of America, since Plaintiff has been deprived of her life, liberties and
properties, in conspired deprivation of procedural and substantive due process and
equal protection of the laws, under color of law, as afforded to Plaintiff under the

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Fourteenth and Fifth Amendments, in deliberate, conspired deprivation of Plaintiff's
Sixth Amendment right to legal counsel, while treating Plaintiff as a criminal and
thereby, stripping her of her U.S. Constitutional rights as if Plaintiff has been
charged, tried and convicted of a criminal crime, without hearing the charges and/or
evidence against Plaintiff, and/or having the opportunity to answer the charges,

and present evidence and witnesses on Plaintiff's behalf, prior to criminal conviction
and full and public disclosure of sensitive information.

Plaintiff also alleges, that in all probability, based on high stakes legalities involved,
that authoritative bodies, under color of law, with intent to cover up for and conceal
their initial involvement and subsequent cover-up, on or before October of 2002,
through present time of January of 2008, have taken the initiative and action to set
Plaintiff up for future charges of criminal behavior through a controlled
environment.

Plaintiff attests that the extreme mental anguish that Plaintiff has been subjected to
from having to organize, prepare, write and ultimately present her own legal
counsel in this United States District Court of Milwaukee, Wisconsin,

due to intrusive violation of privacy and adverse interference in Plaintiff's life,
including privileged communications, constitutes cruel and unusual punishment of a
victim of crime by forcing Plaintiff to relive and continue to relive the horrific
events of which have violated and inflicted irreparable damage and injury.

Plaintiff herein incorporates the aforementioned paragraphs of 1-277, to be
inclusive of the entirety of the federal lawsuit filed in the U.S. District Court of
Charleston, South Carolina, due to the direct relevance and correlation of the
overt predicate retaliatory acts, across state lines, pertinent to and directly
associated with this federal lawsuit filed in the U.S. District Court of Milwaukee,
Wisconsin.

RELIEF

I hereby pray that the United States District Court of Milwaukee, Wisconsin, will
grant an injunctive relief to cease and desist the continued, open-ended pattern of
criminal harassment and adverse interference in Plaintiff's person, property and
business, including intrusive invasion of personal privacy to initiate, implement and
execute said open-ended continuity of overt predicate actions. Plaintiff seeks
compensatory damages in the amount of $50 million due to loss of wages, future
employment opportunities, future earning capacity, severe mental distress and
anguish, including infliction of bodily injury, due to the totality and entirety of the
civil and criminal harassment that has been waged against Plaintiff for over five
years, including the intrusive violation of privacy and desecration of Plaintiff's
person, property and business, and current and future substantial health and medical
expenditures, loss of privacy and, most importantly, loss of family relations.
Plaintiff seeks $50 million for her two children for pain and suffering and adverse
interference in issues directly concerning their lives and family affections.

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279. The conspired, organized and overt predication actions that has been taken
against Plaintiff, under color of law, of which has directly and significantly
affected her two children, constitutes heinous and outrageous conduct of which
exceeds the bounds of decency in a civilized society. If authoritative figures in
the United States of America are allowed to retaliate and abuse and misuse their
positions of power to punish and silence those whom stand up for themselves
and others rights, without check and balance, our U.S. Constitution is worthless
and not serving the purpose of which it was intended by our forefathers. For five
years, on or before October of 2002, through present time of January of 2008,
Plaintiff has been continuously denied her U.S. Constitutional rights while the
perpetrators have organized, planned, initiated and implemented overt action
against action against Plaintiff, through intrusive invasion of privacy of which
shocks the conscious of any individual of whom trusts that their homes, vehicles,
U.S. mail, and wire and electronics communications are confidential and private.
Plaintiff has been so adversely affected by the exploitation and violation of her
life and her children’s lives, that Plaintiff applied for temporary disability from
the U.S. Social Security Administration in June of 2007. The slander,
defamation and public disclosure of private, confidential information, including
falsified information, that Plaintiff has been subjected to, under the protection
of color of law, is outrageous and Plaintiff seeks $100 million in punitive
damages for malicious loss of life, liberty and property, most importantly, family
relations.

280. Plaintiff prays, based on the totality and entirety of the evidence from October
of 2002, through present time of January of 2008, that this U.S. District Court of
Milwaukee, Wisconsin, will render a decision to force U.S. federal authorities to
launch a criminal investigation pertinent to possible and/or probable foul play
attributable to and inclusive of this federal lawsuit and any and all subsequent
lawsuits filed pertinent to this matter, including possible attempted and/or
homicide.

281. Since Plaintiff has sustained injuries and damages to her property and business
directly attributable to overt predicate acts of racketeering, across state lines, by
reason of a violation of Title 18 United States Code, Section 1962, per Title 18

United States Code, Section 1964 (c), Plaintiff is entitled to recover threefold the
damages sustained.

I declare under penalty of perjury, having been consistently denied my U.S.
Constitutional rights to due process and equal protection of the laws, that the
foregoing is true and correct to the best of my knowledge.

 

   

July 24. 2012
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